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                     Exhibit 7




                     Exhibit 7
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                                                                                      Page 1
  ·1· · · · · · · UNITED STATES DISTRICT COURT

  ·2· · · · · · · · · ·DISTRICT OF NEVADA

  ·3· · · · · · · · · · · ·* * * * *

  ·4· ·LATIA ALEXANDER,· · · · · · )
  · · ·individually as heir of· · ·)
  ·5· ·ISAIAH T. WILLIAMS and in· ·)
  · · ·her capacity as special· · ·)
  ·6· ·administrator of the Estate )
  · · ·of ISAIAH T. WILLIAMS,· · · )
  ·7· · · · · · · · · · · · · · · ·)
  · · · · · ·Plaintiff,· · · · · · )
  ·8· · · · · · · · · · · · · · · ·)
  · · · · · · vs.· · · · · · · · · )· · · · CASE NO.
  ·9· · · · · · · · · · · · · · · ·) 2:24-cv-00074-APG-NJK
  · · ·LAS VEGAS METROPOLITAN· · · )
  10· ·POLICE DEPARTMENT, a· · · · )
  · · ·political subdivision of· · )
  11· ·the State of Nevada; KERRY· )
  · · ·KUBLA, in his individual· · )
  12· ·capacity, et al.,· · · · · ·)
  · · · · · · · · · · · · · · · · ·)
  13· · · · ·Defendants.· · · · · ·)
  · · ·____________________________)
  14

  15· · · · · · · · VIDEOTAPED DEPOSITION OF

  16· · · · · · · · · · RUSSELL BACKMAN

  17· · · · · · · · Taken on October 3, 2024

  18· · · · · · · · · · · at 1:10 p.m.

  19· · · · · · ·By a Certified Court Reporter

  20· · · · · · · · · ·Las Vegas, Nevada

  21

  22

  23· · · · · · ·Stenographically reported by:
  · · · · · · ·Heidi K. Konsten, NV CCR 845, RPR
  24· · · · · · ·JOB NO. 57948 - Firm No. 116F

  25



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  ·1· · · · · · ·Videotaped deposition of RUSSELL BACKMAN,

  ·2· ·Volume I, stenographically taken at 400 South

  ·3· ·Seventh Street, Suite 300, Las Vegas, Nevada, on

  ·4· ·Thursday, October 3, 2024, at 1:10 p.m., before

  ·5· ·Heidi K. Konsten, Certified Court Reporter in and

  ·6· ·for the State of Nevada.

  ·7

  ·8· · · · · · · · ·APPEARANCES OF COUNSEL

  ·9· ·For the Plaintiff:

  10· · · · · · ·CORRINE MURPHY, ESQ.
  · · · · · · · ·Murphy's Law
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  17· · · · · · ·(702) 382-0711
  · · · · · · · ·(702) 382-5816 Fax
  18
  · · ·Also present:
  19
  · · · · · · · ·Dawn Beck, Videographer
  20

  21· · · · · · · · · · · * * * * * *

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  ·1· · · · · · · · · ·LAS VEGAS, NEVADA
  ·2· · · · · · · ·Thursday, October 3, 2024
  ·3· · · · · · · · · · · ·1:10 p.m.
  ·4· · · · · · ·DEPOSITION OF RUSSELL BACKMAN
  ·5· · · · · · · · · · · * * * * * *
  ·6
  ·7· · · · · · · ·THE VIDEOGRAPHER:· Good afternoon.· We
  ·8· ·are now on the record.· This begins the videotaped
  ·9· ·deposition of Russell Backman.· Today's date is
  10· ·October 3rd, 2024.· The time on the video monitor
  11· ·is 1:10 p.m.
  12· · · · · · · ·We are located at 400 South Seventh
  13· ·Street in Las Vegas, Nevada.· This case is
  14· ·entitled Latia Alexander, et al., versus Las Vegas
  15· ·Metropolitan Police Department, et al.· The case
  16· ·number is 2:24-cv-00074-APG-NJK in the United
  17· ·States District Court, District of Nevada.
  18· · · · · · · ·My name is Dawn Beck, legal
  19· ·videographer.· The court reporter is Heidi
  20· ·Konsten.· We represent Lexitas.
  21· · · · · · · ·Will counsel please state your
  22· ·appearance for the record and whom you represent.
  23· · · · · · · ·MS. MURPHY:· Good morning -- or good
  24· ·afternoon.· Corrine Murphy, Bar Number 10410, on
  25· ·behalf of plaintiff.


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  ·1· · · · · · · ·MR. ANDERSON:· Craig Anderson for the
  ·2· ·defendants.
  ·3· · · · · · · ·THE VIDEOGRAPHER:· Will the court
  ·4· ·reporter please swear in the witness.
  ·5
  ·6· ·Whereupon,
  ·7· · · · · · · · · · RUSSELL BACKMAN,
  ·8· ·was called as a witness, and having been first duly
  ·9· ·sworn to testify to the truth, was examined and
  10· ·testified as follows:
  11
  12· · · · · · · · · · · EXAMINATION
  13· ·BY MS. MURPHY:
  14· · · · Q· · Let the record reflect this is the time
  15· ·and place of the deposition of Russell Backman in
  16· ·the matter of Latia Alexander, et al., versus
  17· ·Las Vegas Metropolitan Police Department, et al.,
  18· ·Case Number 2:24-cv-00074.
  19· · · · · · ·Mr. Backman, my name is Corrine Murphy,
  20· ·and I'm an attorney.· I represent the plaintiff,
  21· ·Latia Alexander, in this case.
  22· · · · · · ·Can you please state and spell your full
  23· ·name for the record?
  24· · · · A· · Yes.· It's Russell Backman.· And it's
  25· ·R-U-S-S-E-L-L, Backman, B-A-C-K-M-A-N.


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  ·1· · · · Q· · Do you have a middle name?
  ·2· · · · A· · Yes.
  ·3· · · · Q· · What's your middle name?
  ·4· · · · A· · Leo, L-E-O.
  ·5· · · · Q· · And you have been -- I'm assuming that
  ·6· ·you have seen a copy of the notice of today's
  ·7· ·deposition --
  ·8· · · · A· · Yes.
  ·9· · · · Q· · -- requiring you to be here.
  10· · · · · · · ·MS. MURPHY:· And I don't have that
  11· ·with me, Madam Court Reporter, but I'll get that.
  12· ·And if we can please mark that as Exhibit 1.
  13· · · · · · · · · ·(Exhibit 1 was identified.)
  14· ·BY MS. MURPHY:
  15· · · · Q· · And that -- you understand that today
  16· ·we're here to discuss the officer-involved
  17· ·shooting of Isaiah Williams?
  18· · · · A· · Yes.
  19· · · · Q· · Have you ever given your deposition
  20· ·before?
  21· · · · A· · No.
  22· · · · Q· · And is there any reason, as we sit here
  23· ·today, that you would not be able to understand my
  24· ·questions and give your best, most truthful
  25· ·testimony?


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  ·1· · · · A· · No reason.
  ·2· · · · Q· · Okay.· Are you any -- are you under any
  ·3· ·medications or anything that would inhibit your
  ·4· ·ability to provide truthful and reliable --
  ·5· ·reliable testimony today?
  ·6· · · · A· · No.
  ·7· · · · Q· · Okay.· Can you please state your address
  ·8· ·for the record?
  ·9· · · · A· · It's 3681 Via Di Girolamo, Henderson,
  10· ·Nevada 89112.
  11· · · · Q· · Thank you.
  12· · · · · · ·Could you please tell me everything that
  13· ·you did to prepare for today's deposition.
  14· · · · A· · As far as preparation, I met with
  15· ·Mr. Anderson.
  16· · · · Q· · And I don't want to know how long -- I
  17· ·don't want to know what was discussed between you
  18· ·and Mr. Anderson.· I'm not entitled to know that.
  19· ·That's confidential, attorney-client privilege --
  20· ·or, sorry, privileged information.
  21· · · · · · ·But I would like to know how long you
  22· ·met with Mr. Anderson and how many times.
  23· · · · A· · I met with Mr. Anderson two times,
  24· ·approximately 45 minutes, probably, each time.
  25· · · · Q· · Okay.· And did you meet with anyone else


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  ·1· ·from Mr. Anderson's office to prepare for today's
  ·2· ·deposition?
  ·3· · · · A· · No.
  ·4· · · · Q· · Okay.· And other than meeting with
  ·5· ·Mr. Anderson, what else did you do to prepare for
  ·6· ·today's deposition?
  ·7· · · · A· · I read my CIRT statement.
  ·8· · · · Q· · And if I -- if -- just to -- I believe
  ·9· ·that I have that one as well.· That was
  10· ·approximately 75 pages.
  11· · · · · · ·Are you talking about your recorded
  12· ·statement?
  13· · · · A· · Yes, ma'am.
  14· · · · Q· · Okay.· And how -- okay.· And other than
  15· ·reviewing your -- your CIRT statement, did you
  16· ·review anything else?
  17· · · · A· · Yes.· I reviewed the final CIRT report.
  18· · · · Q· · Okay.· And that report is pretty
  19· ·lengthy.
  20· · · · · · ·Did you read that entire report?
  21· · · · A· · I went through a lot of it, yes.
  22· · · · Q· · Okay.· And did you read all of the
  23· ·conclusions, which is, I think, approximately the
  24· ·last 20 pages?
  25· · · · A· · Yes, I read it.


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   ·1· · · · Q· · Okay.· And I'll ask you more about those
   ·2· ·later.
   ·3· · · · · · ·Is that a complete list of what you did
   ·4· ·to prepare for today's deposition?
   ·5· · · · A· · I also read another statement that was
   ·6· ·given prior to -- by Officer Bertuccini.
   ·7· · · · Q· · Okay.
   ·8· · · · · · · ·THE COURT REPORTER:· I'm sorry.· I'm
   ·9· ·going to have to have you speak up, sir.· By
   10· ·officer whom?
   11· · · · · · · ·THE WITNESS:· Bertuccini.· Bertuccini.
   12· ·BY MS. MURPHY:
   13· · · · Q· · And was it his CIRT statement that
   14· ·you -- his recorded statement that you read?
   15· · · · A· · It was the statement from here.
   16· · · · Q· · Oh, his deposition transcript?
   17· · · · A· · Yeah.
   18· · · · Q· · Okay.· And having gone through
   19· ·Officer Bertuccini's deposition transcript, was
   20· ·there anything in there that surprised you?
   21· · · · A· · No.
   22· · · · Q· · Was there anything that you disagreed
   23· ·with?
   24· · · · A· · I'm not -- no.
   25· · · · Q· · Okay.· Did you bring any of the


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   ·1· ·documents that you reviewed with you here today?
   ·2· · · · A· · No.
   ·3· · · · Q· · Okay.· And other than
   ·4· ·Officer Bertuccini's statement -- or deposition
   ·5· ·transcript, have you read any of the other
   ·6· ·officers' deposition transcripts?
   ·7· · · · A· · No.
   ·8· · · · Q· · Okay.· Have you discussed the
   ·9· ·deposition -- your deposition here today with any
   10· ·of the codefendants?
   11· · · · A· · No.
   12· · · · Q· · Is your supervisor aware that you're
   13· ·here today?
   14· · · · A· · Yes.
   15· · · · Q· · Is this part of your normal working
   16· ·schedule?
   17· · · · A· · Yes.
   18· · · · Q· · Okay.· So you got a day off today to
   19· ·come do this deposition?
   20· · · · A· · Yeah.
   21· · · · Q· · I don't know which one is better or
   22· ·worse.
   23· · · · A· · We'll find out.
   24· · · · Q· · Correct.
   25· · · · · · ·Okay.· And so I'm going to ask you some


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   ·1· ·background questions now.
   ·2· · · · · · ·And do you prefer that I call you
   ·3· ·Russell or Sergeant Backman?
   ·4· · · · A· · You can call me Russ.· That's cool.
   ·5· · · · Q· · Russ.· Okay.
   ·6· · · · · · ·Russ, you're currently living in
   ·7· ·Henderson.
   ·8· · · · · · ·How long have you lived here for?
   ·9· · · · A· · In Las Vegas or in Henderson?
   10· · · · Q· · Well, both.
   11· · · · A· · I've been in the valley since 1997.
   12· · · · Q· · Okay.· And how long have you been at
   13· ·your Henderson address?
   14· · · · A· · Since 2019.
   15· · · · Q· · And is it fair for me to assume that you
   16· ·have no intention of moving currently?
   17· · · · A· · No, I don't have any intention.
   18· · · · Q· · All right.· What's your highest level of
   19· ·education?
   20· · · · A· · Some college.
   21· · · · Q· · Okay.· Where did you attend some
   22· ·college?
   23· · · · A· · CSN.
   24· · · · Q· · Okay.· And what -- what partial degree
   25· ·did you obtain there?· Like, what was your focus?


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   ·1· · · · A· · It was just general studies.
   ·2· · · · Q· · Okay.· And when -- are you a member of
   ·3· ·any professional organizations related to your
   ·4· ·profession?
   ·5· · · · A· · As far as?
   ·6· · · · Q· · I don't -- like a shooting club or like
   ·7· ·an officers -- you know, pride club or --
   ·8· · · · A· · No.
   ·9· · · · Q· · Okay.
   10· · · · A· · No.
   11· · · · Q· · All right.· And what's your current
   12· ·position?
   13· · · · A· · I'm a sergeant assigned to the SWAT
   14· ·team.
   15· · · · Q· · Okay.· And you're still on SWAT?
   16· · · · A· · Yes, ma'am.
   17· · · · Q· · And so is it fair for me to assume that
   18· ·you're in the same position as you were when this
   19· ·officer-involved shooting occurred?
   20· · · · A· · Yes.
   21· · · · Q· · Okay.· And can you please run me through
   22· ·your positions prior to that.
   23· · · · A· · Positions prior to that, I was a --
   24· ·well, if you want to start backwards -- or do you
   25· ·want to go chronologically?· I can go either.


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   ·1· · · · Q· · Why don't we start at the beginning and
   ·2· ·then lead up to --
   ·3· · · · A· · Okay.
   ·4· · · · Q· · -- your positions with --
   ·5· · · · A· · In the beginning, obviously I started
   ·6· ·off as a patrol officer, like every other officer
   ·7· ·does on the police department.· I was then
   ·8· ·assigned, after several years, to a
   ·9· ·problem-solving unit.
   10· · · · · · ·From that problem-solving unit, I was
   11· ·assigned to the vice section.· From the vice
   12· ·section, I was assigned to the narcotics section,
   13· ·where I spent five years.· And then I was also
   14· ·assigned to the criminal intelligence section
   15· ·after that as a detective.
   16· · · · · · ·And then after the criminal intelligence
   17· ·section, I went back to patrol for a period.
   18· ·After that, I went back to the major violator
   19· ·section, which is -- used to be called repeat
   20· ·offenders, but it's major violators now -- as a
   21· ·detective.
   22· · · · · · ·And I promoted out of there as a
   23· ·sergeant.· Went back to patrol for a brief period.
   24· ·And then after my patrol time and -- my patrol
   25· ·time, I went back to major violators as a sergeant


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   ·1· ·for about -- approximately 11 months.· And then
   ·2· ·after that, I was assigned to the SWAT team where
   ·3· ·I am currently -- currently at now.
   ·4· · · · Q· · Okay.· And you had gone back to patrol
   ·5· ·because you had a DUI issue; correct?· There were
   ·6· ·some drinking issues?
   ·7· · · · A· · (Nodding head.)
   ·8· · · · Q· · Okay.· Is that correct?
   ·9· · · · A· · Yeah.
   10· · · · Q· · Okay.· What is -- what's a
   11· ·problem-solving unit?
   12· · · · A· · Basically it's the plainclothes unit
   13· ·that's assigned -- is assigned to do any type of
   14· ·follow-up investigations as far as investigative
   15· ·issues within the area command that you work.
   16· ·Like, you know, there's different area commands.
   17· ·And you're assigned there to investigate anything
   18· ·from property crimes, robberies, violent crimes,
   19· ·street-level crimes, street-level narcotics, stuff
   20· ·like that.· It's a plainclothes unit usually.
   21· · · · Q· · Okay.· And prior to your position in
   22· ·SWAT, is -- did you do any CET entries or serve
   23· ·any search warrants as part of -- in part of your
   24· ·duties in these other units?
   25· · · · A· · Years ago in narcotics, yes.


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   ·1· · · · Q· · Okay.· And how long -- and so narcotics,
   ·2· ·based on the chronology that you have given me,
   ·3· ·was very early on in your career.
   ·4· · · · · · ·What years did you work for narcotics
   ·5· ·during?
   ·6· · · · A· · 2006 to 2010.
   ·7· · · · Q· · Okay.· And so I asked a double question,
   ·8· ·so I'm going to split it up.
   ·9· · · · · · ·Did you do CET entries as part of the --
   10· ·any search warrants that you served --
   11· · · · A· · Do you mean --
   12· · · · Q· · -- for narcotics?
   13· · · · A· · Explain --
   14· · · · Q· · Sorry.· The control -- the C-E-T,
   15· ·controlled entry tactic, the --
   16· · · · A· · The controlled entry tactic, at that
   17· ·time, I never knew anything about that.
   18· · · · Q· · Okay.· And so what -- when you served
   19· ·search warrants as part of the narcotic unit, how
   20· ·would you serve those?
   21· · · · A· · That would be done at the squad level,
   22· ·depending on how big the structure was.· And it
   23· ·would be under the supervisor of -- the narcotics
   24· ·sergeant at that time and whoever was the case
   25· ·agent and the detective.


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   ·1· · · · Q· · Okay.· And so I guess my -- if I worded
   ·2· ·the question poorly, like -- was it, like, knock
   ·3· ·and announce and that kind of thing?
   ·4· · · · A· · Yes.
   ·5· · · · Q· · Okay.· Did you do, like, explosive
   ·6· ·entries or --
   ·7· · · · A· · No.
   ·8· · · · Q· · Okay.
   ·9· · · · A· · No, no, no.
   10· · · · Q· · Okay.· Do you have any specialized
   11· ·certification?
   12· · · · A· · For what?
   13· · · · Q· · For your job.· Do you have any, like --
   14· ·I mean, other than being a SWAT officer.· I know
   15· ·that in and of itself is a specialized
   16· ·certification.
   17· · · · A· · Right.
   18· · · · · · ·Specialized certification as far as?
   19· · · · Q· · So I'll give you an example.
   20· · · · · · ·Some of the other gentlemen that I have
   21· ·deposed in this case, they've talked about they
   22· ·had -- one gentleman, I think he had, like, a
   23· ·specialized certification for explosive entries.
   24· ·They had some -- that kind of specialized
   25· ·certification.


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   ·1· · · · A· · No, I don't have anything like as far as
   ·2· ·that, no.
   ·3· · · · Q· · Okay.
   ·4· · · · A· · I'm not -- I'm not -- no.
   ·5· · · · Q· · Okay.· Okay.· Can you please explain to
   ·6· ·me what "knock and announce" means to you.
   ·7· · · · A· · Knock and announce, are you talking --
   ·8· ·which -- which way we going, state or federal,
   ·9· ·here?
   10· · · · Q· · Well, so all -- that's a really good
   11· ·question, and I'm glad you asked me that.· And
   12· ·that allows me to, kind of, give us some
   13· ·groundwork for how I want you to answer the
   14· ·questions for the deposition.
   15· · · · · · ·You were serving this at a state level;
   16· ·correct?· I mean, the way that you were serving
   17· ·this -- this search warrant, obviously you're
   18· ·acting within the state of Nevada; correct?
   19· · · · A· · Uh-huh.
   20· · · · Q· · And so it would be the -- it would be
   21· ·the parameters on the state level -- you tell me.
   22· · · · · · ·What -- as you were serving this
   23· ·warrant --
   24· · · · A· · Right.
   25· · · · Q· · -- what parameters applied to you, state


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   ·1· ·or federal?
   ·2· · · · A· · As far as -- for -- under both.
   ·3· · · · Q· · Okay.
   ·4· · · · A· · Yeah.
   ·5· · · · Q· · Okay.· So then if you can give me both,
   ·6· ·then, what does -- what does "knock and announce"
   ·7· ·to you mean under the state standard and under the
   ·8· ·federal standard?
   ·9· · · · A· · Okay.· The federal standard is being a
   10· ·reasonable amount of time for someone to come
   11· ·to -- come answer the door.· State standard, which
   12· ·is an NRS, and I believe it's -- which one is the
   13· ·NRS you're talking about?· Because there's a
   14· ·couple in there.
   15· · · · Q· · You -- we can just say NRS.· I don't
   16· ·know the code number.
   17· · · · A· · Okay.· All right.
   18· · · · Q· · I don't even think Craig does.
   19· · · · A· · Yeah.· And for -- NRS, it means after
   20· ·you've notified your presence and authority and
   21· ·your intent to serve a search warrant, it would be
   22· ·there's no answer at the door, they don't know
   23· ·that you're there.
   24· · · · Q· · Okay.· But, of course, I mean -- well,
   25· ·you tell me.


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   ·1· · · · · · ·Is it your understanding that ultimately
   ·2· ·the federal standard is the one that prevails?
   ·3· · · · A· · Federal always supersedes state, I
   ·4· ·believe, if I'm correct.
   ·5· · · · Q· · Okay.· So is it -- so then was it your
   ·6· ·understanding that the standard of a reasonable
   ·7· ·amount of time applied the day that you were
   ·8· ·serving this search warrant?
   ·9· · · · A· · Yes.
   10· · · · Q· · Okay.· And by the day, of course I mean
   11· ·January 10, 2022.
   12· · · · A· · Yes, ma'am.
   13· · · · Q· · Okay.· And so -- okay.· And can you tell
   14· ·me what parameters -- and so you -- you
   15· ·articulated both the state and the federal
   16· ·standard really well.
   17· · · · · · ·Was that part of your training for SWAT,
   18· ·that you were educated on that, or did you know
   19· ·that already?
   20· · · · A· · Gosh, I'm trying to think.· I was
   21· ·assigned to the SWAT team 29 days.· If I received
   22· ·that training while I was there, I don't -- I'm
   23· ·trying to think if I -- I don't recall that part.
   24· · · · Q· · Okay.· Would it -- let me ask the
   25· ·question a little bit differently.


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   ·1· · · · A· · You know, you would have to look at my
   ·2· ·training record.· Maybe it's on there.· I --
   ·3· · · · Q· · No, no, no.· That's --
   ·4· · · · A· · I apologize.
   ·5· · · · Q· · -- totally okay.· Let me ask it a little
   ·6· ·bit differently.
   ·7· · · · · · ·Do you think -- as we sit here today, do
   ·8· ·you think that you were likely aware of these
   ·9· ·standards on the -- on January 10th, 2022?
   10· · · · A· · Yes.
   11· · · · Q· · Okay.· And you said "a reasonable amount
   12· ·of time."
   13· · · · · · ·To your knowledge, is there any, like,
   14· ·minimum amount of time?· Like, is there any
   15· ·parameter of, like, hey, it can't be less than
   16· ·this?
   17· · · · A· · No.· It's a reasonable amount of time
   18· ·based on -- you know, is there exigency or what
   19· ·type of crime you have?· Is there a propensity of
   20· ·violence?· Is there a violent individual in there?
   21· ·Are they willing to take up arms -- arms?· Are
   22· ·they heavily armed?· Are they -- can they fortify
   23· ·themselves inside that structure with it?
   24· · · · · · ·There's -- there's a bunch of different
   25· ·parameters that can come into play with that --


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   ·1· · · · Q· · Okay.
   ·2· · · · A· · -- as far as, like, a hostage situation
   ·3· ·or something.· That's totally different.· But
   ·4· ·that's -- that's a situation where that's
   ·5· ·life-threatening exigency.
   ·6· · · · Q· · Okay.· And can you explain to me --
   ·7· ·we've kind of gone over it a little bit, but I
   ·8· ·kind of want -- I wanted, like, a real statement
   ·9· ·from you.
   10· · · · · · ·What is your understanding of the
   11· ·purpose of knock and announce?
   12· · · · A· · The purpose of knock and announce is to
   13· ·notify the occupants that you're there to serve a
   14· ·search warrant and notify them of your presence,
   15· ·authority, and your purpose.
   16· · · · Q· · Do you understand that it is part of a
   17· ·person's constitutional right to have clear notice
   18· ·of a police officer's intent to enter?
   19· · · · A· · Do I understand that?
   20· · · · Q· · Yeah.
   21· · · · A· · Yes.
   22· · · · Q· · Okay.· What's the first and most
   23· ·important constitutional right that any individual
   24· ·has?
   25· · · · A· · Well, they're all important.· Right?


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   ·1· · · · Q· · Uh-huh.
   ·2· · · · A· · I think they are.
   ·3· · · · Q· · Do you think that there's one that's the
   ·4· ·most important?
   ·5· · · · A· · Fourth Amendment.
   ·6· · · · Q· · That's what you think is the most
   ·7· ·important?
   ·8· · · · A· · Well, I mean, Fourth Amendment and the
   ·9· ·First Amendment.
   10· · · · Q· · Right.
   11· · · · A· · Freedom of speech, press, and religion.
   12· ·I think that's probably the most important.
   13· · · · Q· · Okay.· In performing your job as a
   14· ·police officer, do you agree with me that you have
   15· ·a duty to conduct yourselves such that you do not
   16· ·violate the civil or constitutional rights of
   17· ·members of the public?
   18· · · · A· · Yes.
   19· · · · Q· · Do you agree that if you see other
   20· ·officers violating the civil or constitutional
   21· ·rights of a member of the public, you have a duty
   22· ·to intervene and stop that officer?
   23· · · · A· · Yes.
   24· · · · Q· · What is a no-knock warrant?
   25· · · · A· · Well, a no-knock warrant is a search


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   ·1· ·warrant -- and I'll go through the process of it,
   ·2· ·of how it's actually done, because I think that's
   ·3· ·where you're going with this.
   ·4· · · · · · ·Am I correct?
   ·5· · · · Q· · Uh-huh, yes.
   ·6· · · · A· · So it's -- essentially a no-knock
   ·7· ·warrant is a search warrant that -- it would be --
   ·8· ·on the SWAT section would be a -- an affidavit
   ·9· ·would be prepared by a detective.· They would
   10· ·articulate the verbiage in the no-knock search
   11· ·warrant for it to be a no-knock search warrant.
   12· · · · · · ·And they would get approval from their
   13· ·supervisor and their chain of command for a
   14· ·no-knock search warrant.· In order for that --
   15· ·approval for that search warrant, that goes to
   16· ·them at their level.· And then the -- for the SWAT
   17· ·side, it would be approved by the sergeant.· But
   18· ·at the time, it was the captain.· So it was a
   19· ·little -- the approval process was different.
   20· · · · · · ·But in order to have that search warrant
   21· ·approved, it would have to be approved all the way
   22· ·up the chain of command to the deputy chief on --
   23· ·on the no-knock search warrant.· And then it would
   24· ·obviously have to be DA approval and signed by a
   25· ·judge.


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   ·1· · · · Q· · Okay.· And this may seem like a basic
   ·2· ·question and in itself explanatory, but I still
   ·3· ·want your answer on the record for it.
   ·4· · · · · · ·What's the difference between a no-knock
   ·5· ·warrant and a knock warrant?
   ·6· · · · A· · A no-knock warrant means prior to
   ·7· ·entering the structure, there's no announcements.
   ·8· ·It's a no-knock.· You don't make those
   ·9· ·announcements until you actually enter the
   10· ·threshold of the structure itself.
   11· · · · Q· · Okay.· Can you get a no-knock warrant on
   12· ·property-only search warrants?
   13· · · · A· · No.· Not that I -- well, I -- I should
   14· ·say depending on how it was articulated, but I
   15· ·would say no.
   16· · · · Q· · Okay.
   17· · · · A· · I would say that was -- no, correct.
   18· · · · Q· · And so when are no-knock warrants used
   19· ·generally then?
   20· · · · A· · No-knock warrants are used for somebody
   21· ·that's an extremely violent individual that is
   22· ·heavily armed, that would have the ability to
   23· ·possibly take arms up, harm an individual inside
   24· ·the actual structure itself or wherever it's at.
   25· · · · · · ·A no-knock could also be utilized for --


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   ·1· ·depending on if it's a violent individual that's
   ·2· ·heavily armed or somebody that's very violent,
   ·3· ·when the officers are serving it -- their
   ·4· ·positions versus where the suspect would possibly
   ·5· ·be located at and if they would be in harm's way
   ·6· ·or not.
   ·7· · · · Q· · Okay.· And I always say it wrong.                                   I
   ·8· ·think it's "set," but is it actually C-E-T?· Do
   ·9· ·they call it "set" or C-E-T?
   10· · · · A· · C-E-T.
   11· · · · Q· · CET.· All right.· I always call it
   12· ·"set."· Sorry.
   13· · · · · · ·What is a CET?
   14· · · · A· · It's a controlled entry tactic.
   15· · · · Q· · And can you tell me what the purpose of
   16· ·a CET is?
   17· · · · A· · The purpose of a controlled entry
   18· ·tactic, there's obviously some parameters -- the
   19· ·purpose of the controlled entry tactic is to enter
   20· ·a structure or dwelling dynamically in order to
   21· ·overwhelm and take people into custody prior to
   22· ·them taking up arms, destroying evidence, before
   23· ·taking up arms.
   24· · · · · · ·It's for -- it's for a safety issue, the
   25· ·essential part of the CET.· And that tactic is


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   ·1· ·utilized to flood that structure -- flood that
   ·2· ·structure and deem it -- dynamically to make it
   ·3· ·safe.
   ·4· · · · Q· · In this case, was the structure flooded
   ·5· ·and dynamically made safe?
   ·6· · · · A· · Dynamically and made safe?
   ·7· · · · Q· · Was it?
   ·8· · · · A· · It was afterwards.· After we got shot at
   ·9· ·18 times.
   10· · · · Q· · Right.· But upon the entry, was this
   11· ·dynamically made safe?
   12· · · · A· · Upon entry, we were fired upon 18 times.
   13· · · · Q· · Right.· So it's a yes-or-no answer.
   14· · · · A· · The answer was after the shooting.
   15· · · · Q· · No.· My answer -- my question is, when
   16· ·you entered the unit, was this -- did this CET
   17· ·entry make the unit dynamically safe?
   18· · · · · · · ·MR. ANDERSON:· Objection.· Form.
   19· · · · · · · ·Go ahead and answer.
   20· · · · · · · ·THE WITNESS:· No.· I mean --
   21· ·BY MS. MURPHY:
   22· · · · Q· · Can you use a CET entry on a
   23· ·knock-and-announce warrant?
   24· · · · A· · A CET is a -- at that time, that was a
   25· ·knock-and-announce warrant.


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   ·1· · · · Q· · Okay.· As we sit here today, can you use
   ·2· ·a CET entry -- can you use a CET entry on a
   ·3· ·knock-and-announce warrant?
   ·4· · · · A· · No.
   ·5· · · · Q· · Okay.· In your opinion, do you think
   ·6· ·that there was a conflict between knock and
   ·7· ·announce and a CET?
   ·8· · · · A· · In my opinion at the time?
   ·9· · · · Q· · Yes.
   10· · · · A· · At that time?
   11· · · · Q· · Yes.
   12· · · · A· · No.
   13· · · · Q· · Okay.· What about your opinion today?
   14· · · · A· · My opinion today, after being trained
   15· ·and going through some other things, depending on
   16· ·what it's for and how it's articulated and what
   17· ·the -- what the intel sheet report would -- would
   18· ·dictate on that exact answer.
   19· · · · · · ·It's all situational, depending on the
   20· ·type of intelligence is there.· And is there a
   21· ·violent person in there?· Is -- are they -- do
   22· ·they have the ability to take up arms?· Those
   23· ·would all be the factors of the CET with the
   24· ·knock-and-announce part.
   25· · · · Q· · Okay.· And what is a call-out and


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   ·1· ·announce?
   ·2· · · · A· · A call-out -- you're talking about the
   ·3· ·surround and call-out?
   ·4· · · · Q· · Yes.
   ·5· · · · A· · Okay.· A surround and call-out --
   ·6· · · · Q· · And, listen, I've been in this case, but
   ·7· ·I still get some of the acronyms and names mixed
   ·8· ·up a little.· So feel free to correct me on
   ·9· ·everything so that the record is accurate.
   10· · · · A· · Okay.· So a surround and call-out -- a
   11· ·surround and call-out is basically we will
   12· ·surround the outer part of the structure,
   13· ·establishing containment on it with BearCats,
   14· ·which will be our armored vehicles.· We'll place
   15· ·them in positions either in front of the house, on
   16· ·both of the corners, establish containment.· We'll
   17· ·also put officers on the rear of the residence and
   18· ·on each side of the residence.
   19· · · · · · ·Once we have sufficient containment on
   20· ·the exact structure itself of the residence and
   21· ·everybody is set in place and it's -- we're not
   22· ·seeing any movement or anything -- or anything
   23· ·that's making us -- give us any alarms, we'll
   24· ·start the announcement process via the PA or the
   25· ·LRAD that's attached to the BearCat.


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   ·1· · · · · · ·We'll give the announcements for several
   ·2· ·minutes, depending on what the case may be.· And
   ·3· ·if we're not getting a response from inside, we'll
   ·4· ·usually go with a plan.· We also try to telephone
   ·5· ·call-in as well, if we have a phone number for the
   ·6· ·individuals that are inside.
   ·7· · · · · · ·And that's all situational, based on the
   ·8· ·intelligence that we get from the detectives.· And
   ·9· ·then we just go through our progressives.· And
   10· ·then after that, we would start our breaching plan
   11· ·if we got no response.
   12· · · · Q· · Okay.· And because you were the -- you
   13· ·have given two very good descriptions of them.
   14· ·But because you were the sergeant on this, I want
   15· ·to ask you, for the record, to state, what is the
   16· ·difference between a CET and a call-out -- or the
   17· ·call-out?
   18· · · · A· · A controlled entry tactic is a dynamic
   19· ·movement inside the structure to where we're going
   20· ·to take people into custody -- right?· -- after a
   21· ·knock and announce -- after the announcements.
   22· · · · · · ·The difference between that and a
   23· ·surround and call-out is we're trying to get
   24· ·inside that structure to deem it safe, because we
   25· ·know that there could be a violent individual in


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   ·1· ·there that could potentially take up arms.· On a
   ·2· ·surround and call-out, with that case like that
   ·3· ·and as far as the CET -- let me back up here.
   ·4· · · · · · ·There's also some environmental factors
   ·5· ·along with the CET.· You could look at the
   ·6· ·positioning.· Was it -- is it a single-story
   ·7· ·apartment complex?· Is it a two-story apartment
   ·8· ·complex?· Is it a single-story house or a
   ·9· ·two-story house?· Where is it located at?· Is it
   10· ·an apartment complex where there's an apartment
   11· ·with an interior hallway?
   12· · · · · · ·Those are all mitigating factors on
   13· ·whether or not you can sufficiently contain an
   14· ·actual structure or an actual residence or house
   15· ·or whatever you're trying to serve the search
   16· ·warrant at.
   17· · · · Q· · And just specifically for this
   18· ·incidence, it was a -- or incident -- sorry -- it
   19· ·was a CET; correct?
   20· · · · A· · Yes.· We utilized the controlled entry
   21· ·tactic.
   22· · · · Q· · As we sit here today, LVMPD policies
   23· ·would not allow for this type of CET to be used
   24· ·for this type of warrant; correct?
   25· · · · A· · As it sits now, we'd have to get


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   ·1· ·authorization and approval from the SWAT
   ·2· ·commander.
   ·3· · · · Q· · Well, didn't you have to get
   ·4· ·authorization and approval for this back in 2021?
   ·5· · · · A· · Yes.
   ·6· · · · Q· · Or 2022.· Sorry.
   ·7· · · · A· · Yes.· Yes.
   ·8· · · · Q· · Okay.· But as we sit here today, haven't
   ·9· ·LVMPD policies been changed so that you could not
   10· ·serve this type of warrant with a CET?
   11· · · · A· · Correct.
   12· · · · Q· · Okay.· All right.· And so now we're
   13· ·going to -- we've kind of danced around it a
   14· ·little bit, but now we're going to jump into the
   15· ·actual facts.· And we'll start with -- and I know
   16· ·you've read your statement.· You -- you gave that
   17· ·within days of the incident itself.
   18· · · · · · ·And you were very detailed in there, so
   19· ·I'm assuming that you're going to be detailed --
   20· ·you've been detailed so far.· So I'm just going to
   21· ·ask you some background questions, and we'll get
   22· ·into the facts.
   23· · · · · · ·So when was the -- your first awareness
   24· ·of the warrant?
   25· · · · A· · First awareness of the warrant would


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   ·1· ·have been a day off.· I saw it hit the SWAT
   ·2· ·warrants, but I didn't -- I just kind of figured
   ·3· ·it was being worked out by the people above me.
   ·4· · · · · · · ·THE COURT REPORTER:· I need you to
   ·5· ·keep your voice up, please.
   ·6· · · · · · · ·THE WITNESS:· Okay.
   ·7· ·BY MS. MURPHY:
   ·8· · · · Q· · And so you were -- would it be fair for
   ·9· ·me to say you were kind of peripherally aware?· So
   10· ·a warrant came in, but --
   11· · · · A· · Yeah, you get the email notification on
   12· ·your phone.· It doesn't go away, even though
   13· ·you're off.
   14· · · · Q· · Okay.
   15· · · · A· · It's always on.
   16· · · · Q· · Fair enough.
   17· · · · · · ·And -- and then what -- when did you
   18· ·become, like, familiar with -- with the actual
   19· ·warrant?· Do you know what I mean by that?
   20· · · · A· · When was approval to be served?· It
   21· ·would have been, I believe, Sunday when I went
   22· ·back into work.
   23· · · · Q· · Okay.
   24· · · · A· · If I recall correctly.· It was either
   25· ·Saturday or Sunday.


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   ·1· · · · Q· · Okay.· And at that time, were you part
   ·2· ·of the -- there was recon that was done on this;
   ·3· ·correct?
   ·4· · · · A· · Yes.· We went into work.· We knew that
   ·5· ·we had a search warrant to serve.· I got with the
   ·6· ·ATL, Jake Warner -- because I was a
   ·7· ·sergeant-in-training, and the actual sergeant --
   ·8· ·team sergeant at the time was Garth Findley.
   ·9· · · · · · ·He was off that day, so I was getting
   10· ·the warrant preparation parts done.· So Jake
   11· ·Warner -- I talked to Jake Warner and said we had
   12· ·a warrant to serve.· And then we got recon
   13· ·officers assigned to go out and conduct the
   14· ·recon --
   15· · · · Q· · And --
   16· · · · A· · -- for that --
   17· · · · Q· · Sorry.
   18· · · · A· · -- for that -- yeah.
   19· · · · Q· · I'll try not to interrupt you.
   20· · · · A· · Go ahead.
   21· · · · Q· · Sorry.
   22· · · · A· · Go ahead.
   23· · · · Q· · No, no, no.· I don't want to interrupt
   24· ·you ever.
   25· · · · A· · Go ahead.


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   ·1· · · · Q· · If you're not done answering, say "I'm
   ·2· ·not done."
   ·3· · · · A· · Go ahead.
   ·4· · · · Q· · So in terms of -- so when you say
   ·5· ·"ATL" -- does that mean assistant team leader?
   ·6· · · · A· · Yes, assistant team leader, and that
   ·7· ·assistant team leader --
   ·8· · · · · · · ·THE COURT REPORTER:· Okay.· I need you
   ·9· ·both to slow down and talk one at a time.
   10· ·BY MS. MURPHY:
   11· · · · Q· · When I say "ATL," does that mean
   12· ·assistant team leader?
   13· · · · A· · Yes.
   14· · · · Q· · Sorry.· I know.· Sorry.
   15· · · · · · ·All right.· And, so, for the record, can
   16· ·you please just make that statement one more time
   17· ·so the court reporter can get it?
   18· · · · A· · Assistant team leader is ATL.
   19· · · · Q· · Okay.
   20· · · · A· · Yes.
   21· · · · Q· · And so explain to me kind of what
   22· ·position the -- what does ATL mean?
   23· · · · A· · It's an assistant to the team leader.
   24· · · · Q· · Sorry.· That was a bad question.
   25· · · · · · ·What is their role in terms of, like,


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   ·1· ·functioning with what you're doing and how they're
   ·2· ·involved with --
   ·3· · · · A· · They assist with the day-to-day planning
   ·4· ·and operational -- anything that comes in
   ·5· ·operationally, they -- they assist with putting --
   ·6· ·they put the plans together.· They get guys
   ·7· ·moving.· They assist with the team and the actual
   ·8· ·assignments of where the guys are going and what
   ·9· ·needs to be done.
   10· · · · Q· · Okay.· And so the ATL was working with
   11· ·you to come up with a plan on how to serve this
   12· ·warrant; is that --
   13· · · · A· · The ATL formulated the plan.
   14· · · · Q· · The ATL formulated the plan?
   15· · · · A· · Yeah, essentially, and then I sat -- go
   16· ·ahead.
   17· · · · Q· · No, no, no.· Go ahead.
   18· · · · A· · Follow up with your question.
   19· · · · Q· · No, no, no.· Go ahead.
   20· · · · A· · The ATL assigned the recon guys to go
   21· ·out before we came up with the plan, yes.
   22· · · · Q· · Okay.· And so we've kind of gone over it
   23· ·a few times, but I like to sometimes rephrase
   24· ·stuff, because I want to make sure I understand it
   25· ·exactly.


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   ·1· · · · A· · Okay.
   ·2· · · · Q· · You -- at this point in time, you had
   ·3· ·only been a sergeant in SWAT for a couple of
   ·4· ·weeks; correct?
   ·5· · · · A· · Yes.
   ·6· · · · Q· · Okay.· And so you're sitting down with
   ·7· ·the ATL to kind of say, "Hey, this warrant's come
   ·8· ·in.· We're going to get a plan together for it";
   ·9· ·correct?
   10· · · · A· · Correct.
   11· · · · Q· · Okay.· If you had been out of the
   12· ·training period, would you have also still sat
   13· ·down with the ATL to put the plan together?
   14· · · · A· · Of course.
   15· · · · Q· · Okay.· I'm just trying to figure out
   16· ·exactly what the functions look like.
   17· · · · · · ·And so would you have been the one that
   18· ·was kind of saying, "Hey, this is how I'm going to
   19· ·put it together," or would it still have been the
   20· ·ATL that said, "This is how we're going to put it
   21· ·together"?
   22· · · · A· · They come back -- they go out and they
   23· ·do the recon.· They go out.· They look at the
   24· ·structure.· They look at all of the -- the
   25· ·environmental factors:· Where the doors are at,


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   ·1· ·where it's located at, all of that stuff like
   ·2· ·that.
   ·3· · · · · · ·And they bring it back, and then they
   ·4· ·start formulating the draws and they start putting
   ·5· ·it together, the recon guys do.· And then they
   ·6· ·give that information to the ATL, and then we look
   ·7· ·at -- the ATL looks at, kind of, like, how to
   ·8· ·approach that structure from a tactical position.
   ·9· · · · Q· · Okay.· And at the time that you were
   10· ·formulating the plan with the ATL or the ATL was
   11· ·formulating the plan with you, did you understand
   12· ·that -- what the search warrant was looking for?
   13· · · · A· · Yes.
   14· · · · Q· · What was your understanding?
   15· · · · A· · The search warrant -- my understanding
   16· ·of the search warrant, it was a murder
   17· ·investigation, and they were looking for firearms.
   18· ·There was clothing listed on the search warrant
   19· ·itself.· There was a -- I think a cell phone that
   20· ·was listed on -- I -- I would have to look at the
   21· ·search warrant again to go over all the items that
   22· ·we searched.
   23· · · · · · ·But there was also information that
   24· ·there was a suspect inside that residence that
   25· ·would -- that was involved in a shooting prior to


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   ·1· ·from the gang unit.· And there was also a
   ·2· ·potential -- suspects in there that were heavily
   ·3· ·armed with the intelligence that we had.
   ·4· · · · Q· · And what intelligence was it that you
   ·5· ·had that indicated there were -- could potentially
   ·6· ·be heavily armed suspects inside the unit?
   ·7· · · · A· · There was a statement given -- there
   ·8· ·was -- the homicide detectives received -- on the
   ·9· ·search warrant itself, it said that it was a
   10· ·narcotic flophouse, that there -- people were
   11· ·armed in there.· And it also mentioned that the
   12· ·affidavit -- in the affidavit, the search warrant
   13· ·itself, that Rembert -- Rembert was involved in a
   14· ·shooting -- involved in an illegal shooting.
   15· · · · Q· · Okay.· And Rembert, Wattsel, also had
   16· ·a -- was he the one that had the ankle monitor;
   17· ·correct?
   18· · · · A· · I believe it was Corvel Fisher.
   19· · · · Q· · Okay.· So did you believe that Rembert
   20· ·was likely inside the unit?
   21· · · · A· · From reading the search warrant, yeah.
   22· · · · Q· · Okay.· But the indication for the search
   23· ·warrant, it was a property-only search warrant;
   24· ·correct?
   25· · · · A· · It was a property-only search warrant


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   ·1· ·for that part, right.
   ·2· · · · Q· · But my understanding -- you tell me if
   ·3· ·I'm right or wrong -- the way that it was actually
   ·4· ·administered or executed -- or whatever word you
   ·5· ·want to use -- was that it was really an arrest
   ·6· ·warrant.
   ·7· · · · · · ·You were going to arrest individuals
   ·8· ·that you felt were involved in a homicide;
   ·9· ·correct?
   10· · · · A· · It was the understanding at the briefing
   11· ·that there was no -- there was two suspects
   12· ·involved in a shooting prior to.· There was a
   13· ·couple of other incidents where we knew that these
   14· ·two individuals that were involved in it had
   15· ·access to weapons.· One of them was a -- they were
   16· ·each both documented gang members.
   17· · · · · · ·These gang members were documented with
   18· ·having a MP5 style rifle removed from their
   19· ·vehicle prior to -- prior to this.· And there was
   20· ·another incident where there was an AR-15 that was
   21· ·recovered from another incident too, as well, by
   22· ·the gang unit.
   23· · · · · · ·The individuals that were supposed --
   24· ·that were -- we thought that would be inside the
   25· ·structure were Rembert and a Corvel Fisher.


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   ·1· · · · Q· · Okay.
   ·2· · · · A· · And they were both documented gang
   ·3· ·members, and they had a prior criminal history for
   ·4· ·narcotics.· And Rembert's stepmother had told the
   ·5· ·homicide detective that that was a narcotics
   ·6· ·flophouse and they were armed.
   ·7· · · · Q· · But for one of them, you had pinned his
   ·8· ·ankle monitor right before this incident; correct?
   ·9· · · · A· · Correct.
   10· · · · Q· · And he was not located inside this --
   11· ·what you want to call a flophouse; correct?
   12· · · · A· · Correct.
   13· · · · Q· · Okay.· But I -- let me loop back to my
   14· ·prior question.
   15· · · · · · ·The way that it was being served was
   16· ·more akin to an arrest warrant; correct?
   17· · · · A· · I would say we -- no.· I would say
   18· ·that -- that that warrant was being served because
   19· ·of the propensity of violence, them having arms
   20· ·inside that structure itself.· And knowing that
   21· ·Rembert was also involved in an illegal shooting,
   22· ·but there was not an arrest warrant.· Detectives
   23· ·just had probable cause to arrest him.· And that's
   24· ·what we were notified of prior to the brief.
   25· · · · Q· · Sorry.· Back up.· So -- just because I


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   ·1· ·want to understand this a little bit better.
   ·2· · · · · · ·Prior to the briefing on this incident,
   ·3· ·you guys were informed right before the -- the
   ·4· ·briefing on this incident that they did have
   ·5· ·probable cause to arrest him?
   ·6· · · · A· · They had probable cause on one of the
   ·7· ·individuals, being Rembert, that he was involved
   ·8· ·in an illegal shooting.
   ·9· · · · Q· · Okay.· But you guys weren't actually
   10· ·executing an arrest warrant; correct?
   11· · · · A· · We didn't have an arrest warrant.
   12· · · · Q· · Okay.· Why -- did you think it was weird
   13· ·you didn't have an arrest warrant?
   14· · · · A· · At the time, the detectives said if he's
   15· ·there, we're going to arrest him.· They didn't
   16· ·explain to us why.
   17· · · · Q· · Okay.· And you thought he would be
   18· ·there; correct?
   19· · · · A· · Correct.
   20· · · · Q· · Okay.· So this property search warrant
   21· ·was being looked at similar to an arrest warrant;
   22· ·correct?
   23· · · · A· · I would say that the property search
   24· ·warrant was looked at -- no.· I would say it was
   25· ·looked at because we had violent individuals


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   ·1· ·inside that apartment complex -- inside that
   ·2· ·apartment that was a 650-square-foot apartment,
   ·3· ·one bedroom, one bath.· And they were heavily
   ·4· ·armed inside there.
   ·5· · · · · · ·And that's how we looked at that search
   ·6· ·warrant, who -- what we thought would -- we knew
   ·7· ·that we'd -- we'd encounter -- that could be a
   ·8· ·possibility to encounter, and that's why we served
   ·9· ·that -- that's how we served that search warrant.
   10· · · · Q· · Okay.· But you were aware that it was a
   11· ·property only search warrant; correct?
   12· · · · A· · For firearms, yes.
   13· · · · Q· · Okay.· Were there -- obviously this
   14· ·went -- this didn't go as you guys had planned for
   15· ·a variety of reasons.
   16· · · · · · ·In terms of when you're serving a -- a
   17· ·warrant like this, with this type of entry, are
   18· ·there certain things that you need to know or rule
   19· ·out about the -- like whatever -- whatever
   20· ·structure you're going into?
   21· · · · A· · Know or rule out?· Can you please --
   22· · · · Q· · Sure.
   23· · · · A· · -- explain?
   24· · · · Q· · Do you need to know or rule out if
   25· ·there's kids present?· If there's elderly present?


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   ·1· ·If there's animals present?· Like, are there
   ·2· ·certain things that you're supposed to rule out
   ·3· ·before doing this type of --
   ·4· · · · A· · Right.· You would also take into
   ·5· ·consideration, for tactical purposes, whether or
   ·6· ·not there's children there, vicious dogs, elderly,
   ·7· ·stuff like that, absolutely.
   ·8· · · · Q· · Was any of that known prior to serving
   ·9· ·this warrant?
   10· · · · A· · What we do -- did know prior to serving
   11· ·the warrant per -- pursuant to what the detectives
   12· ·had told me, that they had never seen any kids
   13· ·there while any surveillance was conducted by the
   14· ·surveillance teams.· And that it was a narcotics
   15· ·flophouse, and that there were numerous gang
   16· ·members that were associated with that place, is
   17· ·what I was told by detectives.
   18· · · · Q· · Okay.· And as we sit here today, do you
   19· ·know how much surveillance was done on this unit,
   20· ·what -- in a buildup to serving this warrant?
   21· · · · A· · I know there were several dates where
   22· ·there was a squad out there -- a surveillance
   23· ·squad specifically that was out there doing
   24· ·surveillance on that apartment.· I don't -- I
   25· ·can't -- I don't recall the exact specific dates.


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   ·1· · · · · · ·I can recall and I can tell you that
   ·2· ·while they were out there doing surveillance, they
   ·3· ·were burned.· And I believe somebody came out from
   ·4· ·the area of where that apartment was and went over
   ·5· ·to the surveillance vehicle and knocked on the
   ·6· ·window.
   ·7· · · · Q· · Okay.· And so my earlier question still
   ·8· ·stands, though:· Do you know how much -- well, do
   ·9· ·you know how much time was spent actually
   10· ·surveilling the unit?
   11· · · · A· · Look, I would have to refer to that
   12· ·report.· But I would say it was probably -- there
   13· ·were several days that they went out there.                                   I
   14· ·think several different occasions they went out
   15· ·there.
   16· · · · Q· · Okay.· But I guess my question --
   17· · · · A· · Maybe a couple -- a couple shifts.                                   I
   18· ·don't know exactly how much -- how long they
   19· ·spent.· You would have to ask the detective
   20· ·that -- that led the case on that.· I was just
   21· ·there for the -- to serve the actual search
   22· ·warrant.
   23· · · · Q· · Okay.· So it's -- so it's fair for me to
   24· ·assume, then, as we sit here today -- and probably
   25· ·it was the same way back then -- you didn't -- you


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   ·1· ·don't know if they went out there and sat there
   ·2· ·for ten minutes or eight hours?
   ·3· · · · A· · Right.· I was -- that wasn't relayed to
   ·4· ·me by the -- the detective.· He just told -- he
   ·5· ·just relayed to me that they had surveillance out
   ·6· ·there before.
   ·7· · · · Q· · Would that have made a difference to
   ·8· ·you?
   ·9· · · · A· · Would it have made a difference to me as
   10· ·far as what?
   11· · · · Q· · In relying on their information.
   12· · · · A· · As far as what information?
   13· · · · Q· · That there weren't kids present.· There
   14· ·wasn't dogs present.· That there was -- that there
   15· ·was -- potentially that the actual suspects you
   16· ·were looking for were there?
   17· · · · A· · Yeah.· I mean, obviously you're going to
   18· ·always take that information for what they give
   19· ·you, and you're going to use that as actionable
   20· ·intelligence, absolutely.
   21· · · · Q· · Okay.· And in terms of the actual
   22· ·physical structure itself, are there certain key
   23· ·items that you want to know about the physical
   24· ·structure?· For instance, like, is there a
   25· ·barricade on the door?· Are there window blinds?


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   ·1· ·Those types of things.
   ·2· · · · A· · Of course.
   ·3· · · · Q· · Okay.· And it's -- as we sit here today,
   ·4· ·were there a few different unknowns that were not
   ·5· ·known when you approached the unit, you can --
   ·6· ·that you're now aware of in hindsight?
   ·7· · · · A· · Where at on the unit are you
   ·8· ·specifically asking?
   ·9· · · · Q· · Well, was it known that there was a --
   10· ·that there was a kick plate on the door?
   11· · · · A· · You mean a brass wrap?
   12· · · · Q· · I'm sorry.· A brass wrap.
   13· · · · A· · Yes.· Not -- not at the time of --
   14· ·actually at the recon.· Actually, once the guys
   15· ·got up to the door as far as the breaching
   16· ·element, I'm sure they noticed it.
   17· · · · Q· · Yeah, was that something that ought to
   18· ·have been known beforehand?
   19· · · · A· · Ought to be known?
   20· · · · Q· · Yes.
   21· · · · A· · Usually most cases, you always want to
   22· ·look at the front door, absolutely, and get a good
   23· ·look at it.· I do -- I did understand that while
   24· ·they were conducting the recon, that the suspects
   25· ·had hopped the wall and actually went into the


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   ·1· ·door, and I think the door was open at the time
   ·2· ·that they did their walk-by on the --
   ·3· · · · Q· · I'm sorry.· When you say "suspects," are
   ·4· ·you talking about --
   ·5· · · · A· · I mean -- I'm sorry.· Individuals, but
   ·6· ·they -- they called them that to me.· I'm sorry.
   ·7· ·It's -- I'm just recalling the verbiage that was
   ·8· ·sent to me.
   ·9· · · · · · ·But there were several males that hopped
   10· ·the wall and went inside that apartment, 1125,
   11· ·while they were doing the actual walk-by of the
   12· ·recon of the structure.
   13· · · · Q· · Okay.· And why would that be relevant or
   14· ·important for you to know that information?
   15· · · · A· · Because our apartment was occupied.
   16· · · · Q· · Okay.· All right.· So now I'm going to
   17· ·get into the actual, kind of, mechanics of it.
   18· · · · · · ·So you arrive at Sam's Town; correct?
   19· ·What is it?· Around 4:00 a.m.?
   20· · · · A· · Sam's Town, yes.
   21· · · · Q· · Isn't that where you guys, like --
   22· · · · A· · Briefed, yeah.
   23· · · · Q· · -- briefed.· Yeah.· I'm sorry.
   24· · · · · · ·So you arrived at Sam's Town.
   25· · · · · · ·And can you, kind of, walk me through


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   ·1· ·what happens there?
   ·2· · · · A· · That's where -- you know, the whole team
   ·3· ·showed up.· We had our personnel, our manpower
   ·4· ·there.· And we put our drawings up.· The guys put
   ·5· ·their drawings up, and we had everybody together
   ·6· ·and we did the briefing --
   ·7· · · · Q· · Okay.
   ·8· · · · A· · -- along with the detectives.
   ·9· · · · Q· · And to the best of your knowledge, can
   10· ·you walk me through what the briefing entailed?
   11· ·The best of your memory, as we sit here today, can
   12· ·you walk me through what the briefing entailed?
   13· · · · A· · Obviously the briefing entailed the
   14· ·address, the structure we were going to.· It went
   15· ·down the potential targets that would be in there:
   16· ·Their names, their criminal histories.
   17· · · · · · ·And during that, there was Corvel
   18· ·Fisher, who had the ankle monitor on.· And then
   19· ·there was Rembert.· His prior history was there.
   20· ·They were both -- they're documented gang members.
   21· ·And it went into whether there were kids there,
   22· ·dogs there -- et cetera, et cetera, et cetera --
   23· ·on the draw itself.
   24· · · · · · ·And then there was also another draw
   25· ·with -- where there was the planning of how we


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   ·1· ·were going to arrive and the route we were taking.
   ·2· ·And everybody's role and assignments was also up
   ·3· ·there as well, about who was doing what.
   ·4· · · · · · ·And then there was an actual briefing
   ·5· ·to -- what everybody's assignments were, and there
   ·6· ·was a brief back, everybody understanding it as
   ·7· ·well.· And then there was detectives present, too,
   ·8· ·to enlighten everybody there on what their case
   ·9· ·was about.
   10· · · · Q· · Okay.· And what was your role on the
   11· ·team?
   12· · · · A· · I was the -- I was the sergeant on the
   13· ·team in training.· My role for the search warrant
   14· ·was I was operating the bullhorn.
   15· · · · Q· · Okay.· And were you -- were you in
   16· ·charge of this operation?
   17· · · · A· · Sergeant Findley was in charge of the
   18· ·actual tactical operation.
   19· · · · Q· · Okay.· And so then what was -- so were
   20· ·you there just for training purposes?
   21· · · · A· · I was there in training.
   22· · · · Q· · Okay.
   23· · · · A· · Yeah.· He was -- he was the trainer.
   24· · · · Q· · Okay.
   25· · · · A· · But, yes, I was there.


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   ·1· · · · Q· · Sorry.· I know I'm saying "okay" over
   ·2· ·and over again.
   ·3· · · · · · ·And so would it be fair for me to say,
   ·4· ·then, that it was actually -- I'm just going to
   ·5· ·repeat back what you said to me.
   ·6· · · · · · ·It was actually Sergeant Findley that
   ·7· ·was in charge of this operation?
   ·8· · · · A· · Yes.
   ·9· · · · Q· · Okay.· And so -- and I think -- I know
   10· ·I've read it in your report several times.
   11· · · · · · ·But how long had you been on SWAT for
   12· ·when you -- for this incident?
   13· · · · A· · 29 days.
   14· · · · Q· · 29 days?
   15· · · · A· · Somewhere where it's --
   16· · · · Q· · Okay.· But it -- you were the one doing,
   17· ·kind of, the communicating; correct?· Like, you
   18· ·were the one that sat down with the team -- the
   19· ·ATL.· You were the one that said, "We're going to
   20· ·do this kind of unit."· You're the one -- or this
   21· ·kind of entry.
   22· · · · · · ·You're the one that was contacting
   23· ·different people to get authority to -- for
   24· ·different items; correct?
   25· · · · A· · Yes.· And I believe I assisted -- I


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   ·1· ·can't speak for them, but I thought Jake Warner
   ·2· ·also contacted Garth, who was off that day, and
   ·3· ·talked to him and spoke with him on the phone of
   ·4· ·what the -- what the plan was.
   ·5· · · · Q· · Okay.
   ·6· · · · A· · So Garth was aware of what -- of it, as
   ·7· ·well.
   ·8· · · · Q· · Okay.· So leading up to the actual
   ·9· ·execution of the -- of the search warrant, you
   10· ·were taking the command role; correct?
   11· · · · A· · Prior to the execution of the search
   12· ·warrant?
   13· · · · Q· · Yeah.· So sorry.· And let me ask it --
   14· · · · A· · The day before I was there helping
   15· ·facilitate, getting manpower, getting certain
   16· ·things done.· And then I requested the CET to the
   17· ·SWAT lieutenant.· Yes, I did.
   18· · · · Q· · So let's back up a little bit.
   19· · · · · · ·Can you walk me through the -- the
   20· ·process of -- of requesting the CET?
   21· · · · A· · Requesting the CET?
   22· · · · Q· · Yeah.
   23· · · · A· · Yes.· In order to request for the CET,
   24· ·you have to notify your lieutenant, and the
   25· ·lieutenant approves whether or not the CET is


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   ·1· ·approved or not per section policy.
   ·2· · · · Q· · And who was your lieutenant at the time?
   ·3· · · · A· · That would have been Lieutenant Melanie
   ·4· ·O'Daniel.
   ·5· · · · Q· · And to the best of your memory, as we
   ·6· ·sit here today, can you walk me through the
   ·7· ·communications that you had with Lieutenant
   ·8· ·O'Daniel regarding getting the CET authorized?
   ·9· · · · A· · I spoke with Lieutenant O'Daniel on the
   10· ·phone, and I -- we explained to her that it was a
   11· ·small apartment; we couldn't contain it with
   12· ·BearCats due to the environmental factors.
   13· · · · Q· · Sorry.· Who is "we"?
   14· · · · A· · I did.· But that was because of -- we
   15· ·had gathered from the recon guys and the ATL, we
   16· ·had received that information that we couldn't
   17· ·sufficiently contain that structure itself.· The
   18· ·propensity of violence of the individuals that
   19· ·were in there, knowing that they were heavily
   20· ·armed potentially, with the prior weapon stops
   21· ·that they had with the AR-15 and the MP5.
   22· · · · · · ·And due to the fact that Wattsel
   23· ·Rembert's mother said that there was a narcotics
   24· ·flophouse -- I know through my training and
   25· ·experience, a narcotics flophouse means that


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   ·1· ·there's going to be guns in there usually.· That's
   ·2· ·usually how it rolls.
   ·3· · · · · · ·Narcotic sellers and dealers are --
   ·4· ·protect their product, and they have guns.· That's
   ·5· ·just -- that's -- that's what happens in --
   ·6· ·sometimes in these cases.
   ·7· · · · · · ·So that was the explanation that I gave
   ·8· ·to Lieutenant O'Daniel, was there was the
   ·9· ·violent -- propensity of violence, and we were
   10· ·going after a murder suspect.· And there was a --
   11· ·there was an outstanding gun.
   12· · · · Q· · Okay.· And so I'm glad that you brought
   13· ·that up, because I want to understand your point
   14· ·of view as well.
   15· · · · · · ·So part of your point of view, as having
   16· ·worked these prior units, is that if you hear
   17· ·narcotic flophouse, you think automatically
   18· ·there's going to be guns --
   19· · · · A· · I didn't say automatically.
   20· · · · Q· · Oh, well, I --
   21· · · · A· · I said I knew -- I knew from my training
   22· ·and experience that there's a possibility they
   23· ·could be there.
   24· · · · Q· · And so if I say possibility or
   25· ·probability, do you understand the difference


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   ·1· ·between those two?
   ·2· · · · A· · I would say probability, because drug
   ·3· ·dealers, they protect their product.· And how are
   ·4· ·they going to protect their products?· They
   ·5· ·protect them with guns.
   ·6· · · · Q· · So in the day before executing the
   ·7· ·search warrant, you thought that it would be a
   ·8· ·probability that there would be armed and
   ·9· ·dangerous individuals in the unit; is that
   10· ·correct?
   11· · · · A· · Due to the intelligence that we had,
   12· ·absolutely, with the prior stops and the -- the
   13· ·two suspects that were listed on the incident and
   14· ·accident plan.
   15· · · · Q· · And that is part --
   16· · · · A· · They were documented gang members as
   17· ·well.
   18· · · · Q· · And that is part of what -- what you --
   19· ·that is part of what you communicated to
   20· ·Lieutenant O'Daniel when you were discussing your
   21· ·request to have a CET; correct?
   22· · · · A· · Yes.
   23· · · · Q· · And in addition to the CET, you also had
   24· ·some distraction device -- they're called
   25· ·distraction devices; right?


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   ·1· · · · A· · Yes.
   ·2· · · · Q· · Okay.· Can you walk me through what
   ·3· ·you -- what you also had on this -- for the -- to
   ·4· ·execute the search warrant?
   ·5· · · · A· · I also had to have approval from
   ·6· ·lieutenant -- Lieutenant O'Daniel to utilize a
   ·7· ·stun stick, which is a distract device on a stick.
   ·8· · · · · · · ·MS. MURPHY:· We've been going a little
   ·9· ·under an hour.· Why don't we take a short break.
   10· · · · · · · ·THE VIDEOGRAPHER:· We are going off
   11· ·record at 1:52 p.m.
   12· · · · · · · · · ·(Whereupon, a recess was taken.)
   13· · · · · · · ·THE VIDEOGRAPHER:· We are back on
   14· ·record at 1:59 p.m.
   15· ·BY MS. MURPHY:
   16· · · · Q· · And, Russ, we just took a short break.
   17· ·But I just want to confirm, the -- the oath that
   18· ·you took before we went on break still applies.
   19· · · · · · ·You understand you're still under oath;
   20· ·correct?
   21· · · · A· · Yes, ma'am.
   22· · · · Q· · Okay.· And we were -- we had just begun
   23· ·talking about the distract devices that you got
   24· ·approval for to use on this -- this search
   25· ·warrant.


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   ·1· · · · · · ·Can -- can we kind of go back to that,
   ·2· ·and can you walk me through what -- what -- what
   ·3· ·distracts you got and what approvals were
   ·4· ·necessary for those?
   ·5· · · · A· · Okay.· Yes.· We used the distract on a
   ·6· ·stun stick, 25 -- Def Tec 25 on the stun stick.
   ·7· ·And then we also used the -- it's called the
   ·8· ·9 bang distract, which is essentially a 25 that
   ·9· ·goes off nine times as -- as well on this
   10· ·operation.· And the stun stick had to have
   11· ·approval from Lieutenant O'Daniel.
   12· · · · Q· · And did the 9 bang have to have
   13· ·approval?
   14· · · · A· · The nine bang itself?
   15· · · · Q· · Yeah.
   16· · · · A· · No.· It was just a -- it's just a
   17· ·normal -- it's just a distract that we use.
   18· · · · Q· · Okay.· Why does the stun stick have to
   19· ·have approval and the nine bang doesn't?
   20· · · · A· · The stun stick itself was inserted into
   21· ·the residence.· So any time that you insert a stun
   22· ·stick into a residence, you have to have approval
   23· ·from the lieutenant, which would be, at the time,
   24· ·the SWAT commander.
   25· · · · Q· · Okay.· And why did you -- why did you


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   ·1· ·think that it was necessary to have a stun stick
   ·2· ·for this search warrant?
   ·3· · · · A· · Well, looking at the structure itself
   ·4· ·and then looking at the -- the people that
   ·5· ·potentially we thought would be in there, as far
   ·6· ·as we're going after a murder suspect.· We know
   ·7· ·that they have -- they're heavily armed.· We have
   ·8· ·intelligence that they're heavily armed.
   ·9· · · · · · ·We're going after the crime of murder.
   10· ·They have priors -- violent priors, and they also
   11· ·are documented gang members.
   12· · · · · · ·In order to insert that stun stick and
   13· ·clear out that window, the window that we used
   14· ·would -- we knew that that would be the living
   15· ·room.· And that living room itself, if we can
   16· ·clear that out, we had a breach point, which would
   17· ·have been the front door, which would have
   18· ·assisted us in -- with clearing out that window
   19· ·and letting us know, if we got hung up at the
   20· ·door, where -- you know, the guys there could
   21· ·actually provide cover for us, and then also
   22· ·provide intelligence of what we had inside if we
   23· ·got hung up at the door or anything like that as
   24· ·well.
   25· · · · · · ·And the purpose of the stun stick would


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   ·1· ·be if there was somebody in there that was trying
   ·2· ·to do something that was violent or whatever,
   ·3· ·there was that distract device itself in there
   ·4· ·that could go off and that would disorient them if
   ·5· ·they were -- if they were going to do something,
   ·6· ·whether they were trying to run deep into the
   ·7· ·structure, into another room, or they were trying
   ·8· ·to move, grab something, or do anything like that.
   ·9· · · · Q· · So your understanding of the purpose of
   10· ·the stun stick is, in fact, to disorient; correct?
   11· · · · A· · The stun stick, yeah, it emits a --
   12· ·yeah, it disorientates -- disorientate -- excuse
   13· ·me -- disorients somebody, yes.
   14· · · · Q· · Okay.· And so I'm going to actually ask
   15· ·you, to the best of your knowledge, like, can you
   16· ·kind of walk me through what a stun stick
   17· ·actually, like, looks like?· Like, how it's
   18· ·employed?
   19· · · · A· · It's a device that has a hood.· It has
   20· ·the actual dis -- 25 depth -- 25 distract on it.
   21· ·And it can extend out.· And it is utilized to
   22· ·insert through a window.· And you insert it up at
   23· ·a high angle.· And whoever is operating it itself,
   24· ·prior to would attempt to clear the area.
   25· · · · · · ·And then if they see somebody that is


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   ·1· ·right there or whatever -- if there's a kid or
   ·2· ·something, obviously they're not going to utilize
   ·3· ·it.· And utilize that device in order to help the
   ·4· ·entry team basically disorientate or distract
   ·5· ·those individuals and draw their attention back
   ·6· ·towards that in order to go in there and actually
   ·7· ·safely take them into custody.
   ·8· · · · Q· · Okay.· And you weren't the one that
   ·9· ·actually had the stun stick at the --
   10· · · · A· · No.
   11· · · · Q· · Okay.· And so tell me then also, can
   12· ·you -- the title is a little self-explanatory, but
   13· ·I'm going to ask you to walk me through it anyway.
   14· · · · · · ·What's the nine bang?
   15· · · · A· · The nine bang is essentially a distract
   16· ·device that has nine ports, and it lets off nine
   17· ·distracts -- 25 distracts.· It's a -- repetitive.
   18· · · · Q· · And so what's the bang -- what's the --
   19· ·I mean, we've got the video, so I know.
   20· · · · · · ·But how would you describe the bang?
   21· · · · A· · It's -- it's -- it's similar to the
   22· ·Def Tec 25.· It's -- it's just nine ports, and it
   23· ·just goes off nine times in a rhythm, boom, boom,
   24· ·you know.
   25· · · · Q· · Okay.· And what did you -- what was your


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   ·1· ·conversation with the lieutenant -- to the best of
   ·2· ·your memory, what was your conversation with the
   ·3· ·lieutenant in order to get the use of the stun
   ·4· ·stick authorized?
   ·5· · · · A· · Just like I explained before.
   ·6· · · · Q· · Okay.
   ·7· · · · A· · We had those two -- we had the
   ·8· ·intelligence of the violent individuals inside the
   ·9· ·apartment itself, that they were heavily armed,
   10· ·and we were also looking for a murder suspect.
   11· ·And the mother -- stepmother of those two -- one
   12· ·of those individuals had identified both of them
   13· ·as being the ones that were involved in the
   14· ·murder.
   15· · · · Q· · Okay.· So is it fair for me to assume,
   16· ·the reason to do this CET and the reason to use
   17· ·the stun stick were the same?
   18· · · · A· · Correct, essentially.· I mean --
   19· · · · Q· · Yeah.
   20· · · · A· · -- the -- insert a stun stick is not
   21· ·necessarily on any CET or all CETs, so -- I mean,
   22· ·that is utilized in order to help out the entry
   23· ·team, whether they get hung up or if there's
   24· ·somebody in there, to distract them or to, you
   25· ·know, keep them from fleeing, going into a back


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   ·1· ·room, or gathering something like that itself.
   ·2· · · · · · ·It's there to disorient somebody, if
   ·3· ·needed, and that's also on the individual operator
   ·4· ·itself --
   ·5· · · · Q· · Okay.
   ·6· · · · A· · -- on who is operating it.
   ·7· · · · Q· · What's a break and rake?
   ·8· · · · A· · A break and rake?
   ·9· · · · Q· · Uh-huh.
   10· · · · A· · That's a device that's used to clear out
   11· ·an actual window itself.
   12· · · · Q· · Okay.· And so what is inserted first
   13· ·through the window for this?· Is it the stun stick
   14· ·or the break and rake?
   15· · · · A· · I wasn't back there.· I don't know
   16· ·exactly what -- what they used or how they cleared
   17· ·the out that window --
   18· · · · Q· · Okay.
   19· · · · A· · -- in the back.
   20· · · · Q· · All right.· And so -- and so let's
   21· ·actually walk through the -- sorry.· We went
   22· ·through the -- the briefing.
   23· · · · · · ·Then can you kind of walk me through
   24· ·what happened after that?· So did you guys have
   25· ·the briefing at Sam's Town?


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   ·1· · · · A· · Okay.
   ·2· · · · Q· · And then what happens next?
   ·3· · · · A· · After the briefing, we loaded up on the
   ·4· ·BearCats.
   ·5· · · · Q· · Okay.
   ·6· · · · A· · Got dressed, got our tactical equipment
   ·7· ·or.· And we got on the BearCats, and we started
   ·8· ·heading towards 3050 South Nellis, 1125.
   ·9· · · · Q· · And what -- what tactical equipment did
   10· ·you have -- sorry.
   11· · · · · · ·What tactical equipment did you have on?
   12· · · · A· · A ballistic helmet, a ballistic vest,
   13· ·belt, gloves, tourniquet, stuff like that.
   14· · · · Q· · What were you armed with?
   15· · · · A· · I had two guns on me at that time.                                   I
   16· ·had a GLOCK 34, and I was also armed with an M4.
   17· · · · Q· · Is that standard?
   18· · · · A· · What do you mean "standard"?
   19· · · · Q· · Is that what's standard -- like, if
   20· ·you're -- if you were serving -- that's a fair
   21· ·question.
   22· · · · · · ·If you were serving this kind of
   23· ·warrant, is that, like, what you would wear as a
   24· ·standard?
   25· · · · A· · Could be, depending on the operation,


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   ·1· ·depending on what type of tactic we're using,
   ·2· ·where you're at in the line.· Depending on what
   ·3· ·type of operation it is, you could utilize two
   ·4· ·handguns instead -- instead of having a M4.· It's
   ·5· ·just -- it's situational.
   ·6· · · · Q· · And, sorry, we talked about --
   ·7· · · · A· · And that's up to the operator itself --
   ·8· ·the SWAT operator itself on what they prefer.
   ·9· · · · Q· · Okay.· And, sorry, we kind of -- I just
   10· ·wanted to -- this goes back a little -- goes back
   11· ·a little bit.
   12· · · · · · ·But in terms of the CET -- the CET, the
   13· ·time that you had been on SWAT, you had never done
   14· ·a CET before; is that correct?
   15· · · · A· · Not on the SWAT team, no.
   16· · · · Q· · Okay.· Had you done it not on SWAT?
   17· · · · A· · No.· Because that tactic didn't --
   18· ·that's the first time I had ever heard of the
   19· ·tactic, is when I was assigned to SWAT.
   20· · · · Q· · Okay.· So -- okay.· So I want to make
   21· ·sure I understand that statement correctly.
   22· · · · · · ·You had never even heard of this tactic
   23· ·before until you had been assigned to SWAT; is
   24· ·that correct?
   25· · · · A· · Essentially, right.· Yeah, I didn't know


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   ·1· ·that that's what it was called.
   ·2· · · · Q· · Okay.
   ·3· · · · A· · Dynamic -- yeah.
   ·4· · · · Q· · Okay.· And so you get on the BearCats.
   ·5· ·And then kind of -- I mean, I -- it's -- I'm going
   ·6· ·to ask you to give me the dialogue.· Obviously --
   ·7· ·like, you get on the BearCats.
   ·8· · · · · · ·Then what?
   ·9· · · · A· · We started heading towards -- we had
   10· ·body cams.· Everybody -- I think I came on the
   11· ·radio and said, "Hey, everybody activate their
   12· ·body cameras."· Everybody activated their body
   13· ·cameras, and we proceeded the route that was on
   14· ·the draw itself to the location.
   15· · · · Q· · Okay.· And why did you activate -- is
   16· ·there, like, a certain policy for LVMPD of -- as a
   17· ·point in time when you have to activate the body
   18· ·cams?
   19· · · · A· · There's a certain point, I guess, when
   20· ·everybody is ready to go and you're starting the
   21· ·tactical operations and you're loading on the
   22· ·BearCats, in SWAT, we activate our body cameras.
   23· · · · Q· · Okay.· And so you load on the BearCats.
   24· ·And you get to the actual apartment building.
   25· · · · · · ·Can you walk me through what happens


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   ·1· ·then?
   ·2· · · · A· · We disembarked the BearCats and got in
   ·3· ·the line.
   ·4· · · · Q· · Okay.· And can you walk me through, to
   ·5· ·your memory, what -- what -- what did the line
   ·6· ·consist of?
   ·7· · · · A· · The actual stack itself, we had our
   ·8· ·breaching element with Officer Hoskins and Levi
   ·9· ·Hancock.· And then we had our line, which was --
   10· ·Officer Kubla was number one.· Number two was
   11· ·Brice Clements.· Number three was Jake Warner.                                     I
   12· ·was number four, myself.· And then Alex Gonzalez,
   13· ·who is now a sergeant, was number five.
   14· · · · · · ·Number six -- I would have to look back
   15· ·at the draw, but, I mean, for -- it's -- all of
   16· ·the rest -- the rest of the guys on the team --
   17· · · · Q· · Okay.
   18· · · · A· · -- were in that line too.
   19· · · · Q· · And where were you relative to everyone
   20· ·else?
   21· · · · A· · I was number four.
   22· · · · Q· · Okay.· So were you in actually the
   23· ·lineup in front of the door, or were you off to
   24· ·the side?
   25· · · · A· · At that point in time, because of the --


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   ·1· ·how we lined up, the door was recessed back. I
   ·2· ·was off to the side.
   ·3· · · · Q· · Okay.· And who gave the announcement?
   ·4· · · · A· · For the target apartment, I did.· I had
   ·5· ·the bullhorn.
   ·6· · · · Q· · Okay.· Why don't we stop here, and then
   ·7· ·we'll actually play the video.
   ·8· · · · A· · Okay.
   ·9· · · · · · · ·MS. MURPHY:· Okay.· Give me just -- if
   10· ·we want to go off the record, give me just a
   11· ·minute to pull up the video.
   12· · · · · · · ·THE VIDEOGRAPHER:· We are going off
   13· ·the record at 2:09 p.m.
   14· · · · · · · · · ·(Whereupon, a recess was taken.)
   15· · · · · · · ·THE VIDEOGRAPHER:· We are back on
   16· ·record at 2:11 p.m.
   17· · · · · · · ·THE WITNESS:· Is that mine?
   18· ·BY MS. MURPHY:
   19· · · · Q· · Yeah.· Tell me -- it should be yours.
   20· · · · A· · I'm asking you.
   21· · · · Q· · Okay.· It's the one that's marked as
   22· ·yours.
   23· · · · A· · It was two years ago.
   24· · · · Q· · The sound should be coming on.· Give me
   25· ·one second.


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   ·1· · · · A· · Okay.
   ·2· · · · · · · · · ·(Video played.)
   ·3· · · · · · · ·THE WITNESS:· I didn't touch it.· It
   ·4· ·stopped.· My hands are right here.
   ·5· ·BY MS. MURPHY:
   ·6· · · · Q· · Were you on the BearCat?
   ·7· · · · A· · Yes.
   ·8· · · · · · · ·MS. MURPHY:· Did it stop again?
   ·9· ·Yikes.· All right.· Thank you.
   10· · · · · · · · · ·(Video played.)
   11· ·BY MS. MURPHY:
   12· · · · Q· · Are you okay?· Do you want to take a
   13· ·break?
   14· · · · A· · I'm good.
   15· · · · Q· · Are you sure?
   16· · · · A· · Yeah.
   17· · · · Q· · Okay.· We can -- we can totally take a
   18· ·break.· There's no problem at all.
   19· · · · · · · ·THE WITNESS:· Do you need to take a
   20· ·break?
   21· · · · · · · ·MR. ANDERSON:· I don't need to take
   22· ·one.· But if you do, take it.
   23· · · · · · · ·THE WITNESS:· No.
   24· ·BY MS. MURPHY:
   25· · · · Q· · Do you want to take a break?


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   ·1· · · · · · ·And so, Russ, I think you gave me the
   ·2· ·list of things that you had reviewed beforehand.
   ·3· ·And I don't remember, I'm sorry, even though it
   ·4· ·was just a couple of hours ago.
   ·5· · · · · · ·Had you reviewed that video to prepare
   ·6· ·for today's deposition?
   ·7· · · · A· · Yes, I --
   ·8· · · · Q· · Okay.
   ·9· · · · A· · -- reviewed it before.· Yeah.
   10· · · · Q· · Okay.· All right.· Okay.· Is it hard for
   11· ·you to watch that video?
   12· · · · A· · Hard?
   13· · · · Q· · Yeah.
   14· · · · A· · Unfortunately, there's a human life
   15· ·involved.· Anybody in -- in any type of incident
   16· ·like that -- would be probably hard for them.
   17· ·Absolutely, it's hard, yeah.
   18· · · · Q· · Okay.
   19· · · · A· · But, I mean, it's just lucky to know
   20· ·that I'm alive and the rest of the team guys
   21· ·are -- letting them -- you know, it brings back a
   22· ·lot of emotions.· But, yeah, I'm glad that we came
   23· ·out of there alive.
   24· · · · Q· · Okay.· And can you kind of tell me -- if
   25· ·it's not too hard for you, can you kind of tell


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   ·1· ·me, like, what kind of emotions is it bringing up
   ·2· ·for you to watch that video?
   ·3· · · · A· · To know that we all took a -- that --
   ·4· ·all of those rounds, 18 of them, I believe, and
   ·5· ·none of us got hit.· And then looking at that
   ·6· ·muzzle flash pointed directly at me, I was able to
   ·7· ·go to work, do my job, and then come out alive.
   ·8· · · · Q· · Okay.
   ·9· · · · A· · Very fortunate.
   10· · · · Q· · And did you do any -- did you do any,
   11· ·like, treatment following this incident?· Like any
   12· ·treatment with a therapist, a psychologist,
   13· ·anything like that?
   14· · · · A· · Yes, I went to --
   15· · · · Q· · Okay.· How long did you do that for?
   16· · · · A· · Oh, gosh.· I forget the exact length of
   17· ·it, but it was -- I don't know, standard time,
   18· ·whatever -- whatever that was.· Like a month and a
   19· ·half, two months.
   20· · · · Q· · And did you have any -- were you -- were
   21· ·you put on, like, administrative leave or anything
   22· ·like that?
   23· · · · A· · Yes.
   24· · · · Q· · How long were you put on leave for?
   25· · · · A· · Oh, I was on administrative leave, I


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   ·1· ·believe, almost four months.
   ·2· · · · Q· · Okay.· And since coming back, have you
   ·3· ·had any -- do you have any, like, ongoing mental
   ·4· ·health or psychological issues related to being
   ·5· ·involved in this officer-involved shooting?
   ·6· · · · A· · No.
   ·7· · · · Q· · Okay.· Does it change how -- what
   ·8· ·happened -- does what happened here change how you
   ·9· ·serve search warrants today?
   10· · · · A· · You mean what happened on that incident?
   11· · · · Q· · Correct.
   12· · · · · · · ·MR. ANDERSON:· Can I just clarify?
   13· ·Are you asking the department, or him personally?
   14· · · · · · · ·MS. MURPHY:· Him personally.· That's a
   15· ·fair clarification.· Thank you, Craig.
   16· · · · · · · ·THE WITNESS:· Yeah, because I was
   17· ·confused.· Thank you.
   18· · · · · · · ·Me personally, you know, when you look
   19· ·at anything like that and you look -- at any time
   20· ·you go into the unknown, you want to always be
   21· ·prepared as much as you can.· And with my training
   22· ·and -- that day, I relied on it and it came
   23· ·through.
   24· · · · · · · ·Does that change anything as far as my
   25· ·opinion?· I'm there to do a job, regardless if


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   ·1· ·it's serving a search warrant, a hostage rescue,
   ·2· ·whatever.· So when I have to go to work and I do
   ·3· ·my job, I have to be as most -- I have to be as
   ·4· ·proficient as possible and have a clear head.
   ·5· · · · · · · ·So does it change my opinion on my job
   ·6· ·and my tactics and what I do?· No.
   ·7· ·BY MS. MURPHY:
   ·8· · · · Q· · And, sorry, maybe I asked the question a
   ·9· ·little unartfully.· I'm not asking if it changed
   10· ·your opinion on things.· But I'm asking if it --
   11· ·well, maybe you answered it, the last part, but I
   12· ·just want to clarify.
   13· · · · · · ·In, kind of, like how -- how you do --
   14· ·how you execute search warrants today, did -- did
   15· ·this incident change anything, the way that you --
   16· ·you actually, like, do anything?· Like, some of
   17· ·the other officers have answered, like, that --
   18· ·they have answered, like, they modified certain
   19· ·things or they're more aware.· Like, it has had an
   20· ·impact on how they serve search warrants today.
   21· · · · · · ·Is that question more clear, or do you
   22· ·want me to rephrase it?
   23· · · · A· · Yes.· Yeah, it's -- you know -- you
   24· ·know, I see your -- do you modify things?
   25· ·Absolutely.· Any time you have a tragic event like


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   ·1· ·that, you always go back to the -- go back and
   ·2· ·look at what -- you know, what you can improve on,
   ·3· ·how you get better.· Not individually, but also as
   ·4· ·my position as -- the team.
   ·5· · · · · · ·So you have to take all of those -- all
   ·6· ·of that into consideration and always learn from
   ·7· ·the outcome of that.· There was -- unfortunately,
   ·8· ·there was a human life involved, and it's tragic
   ·9· ·that there's a gentleman that's deceased now.· And
   10· ·for his family, I feel bad for his family.
   11· · · · · · ·Doing things differently?· I would say
   12· ·you train harder.· You work harder and make sure
   13· ·to be always prepared for the unknown and never to
   14· ·give up.· And don't let off the gas pedal just
   15· ·because you think you know everything.· That would
   16· ·be -- you need to always train and keep training
   17· ·harder, because you never know what you're going
   18· ·to encounter when you go through a door.
   19· · · · · · ·And obviously right there, we
   20· ·encountered a gentleman that shot at us 18 times
   21· ·and tried to kill us.
   22· · · · Q· · And one of the -- we can back up and
   23· ·kind of talk about the actual mechanics of it as
   24· ·well.
   25· · · · · · ·There was an issue with getting through


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   ·1· ·the door; correct?
   ·2· · · · A· · After watching the video, yeah.
   ·3· · · · Q· · Yeah.
   ·4· · · · A· · It took a little while.
   ·5· · · · Q· · And so what was the issue with getting
   ·6· ·through the door?
   ·7· · · · A· · After reading the reports and seeing
   ·8· ·that, the brass wrap obviously kept us from
   ·9· ·ramming that door -- can somebody ram the door one
   10· ·time?· Yes, depending on their technique, how big
   11· ·and strong they are.· But, you know, it's also
   12· ·technique.
   13· · · · · · ·I don't know what -- you know, he used
   14· ·the best technique he could, and that door -- door
   15· ·got opened after five hits.
   16· · · · Q· · Okay.· When I say "call a tactical,"
   17· ·what does that mean to you?
   18· · · · A· · So tactical -- tactical --
   19· · · · Q· · That -- sorry.· In terms of this
   20· ·incident.· It may have meaning in a variety of
   21· ·other ways that I'm unaware of.
   22· · · · A· · Yeah, because I was, like -- okay.· Yes.
   23· · · · · · ·So in that incident right there, for
   24· ·that particular part at the door, calling tactical
   25· ·would mean we would pull back.· That would -- that


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   ·1· ·would be a -- absolutely, that's -- and anybody
   ·2· ·can call it in the line, whoever is seeing
   ·3· ·whatever -- you need somebody behind -- you know,
   ·4· ·if there was somebody squirting out the window or
   ·5· ·somewhere else or something else going on, anybody
   ·6· ·on the operation could call tactical.
   ·7· · · · · · ·And that's where we pull back to cover.
   ·8· ·We reassess, we find out what's going on, slow
   ·9· ·things down, and then formulate a plan from there.
   10· · · · Q· · Okay.· And having seen the video,
   11· ·knowing everything that you know now, do you think
   12· ·that a tactical ought to have been called that
   13· ·day?
   14· · · · A· · Yeah, I think that we -- that would have
   15· ·been -- looking at it now, yes, I would agree with
   16· ·that, yeah.
   17· · · · Q· · And I want to read you the legal element
   18· ·for knock and announce.· And it is that if after
   19· ·notice of its authority and purpose, an officer is
   20· ·refused admittance.
   21· · · · · · ·Can you tell me, having watched that
   22· ·video, what Mr. Williams did to refuse admittance
   23· ·while the door was closed?
   24· · · · A· · Refuse admittance --
   25· · · · Q· · Yeah.


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   ·1· · · · A· · -- while the door was closed?
   ·2· · · · · · ·He didn't answer the door.· We made our
   ·3· ·announcement.
   ·4· · · · Q· · Okay.· Do you think that there was
   ·5· ·sufficient time for Mr. Williams to wake up, get
   ·6· ·up, walk to the door, and open the door within the
   ·7· ·amount of time between your announcement and the
   ·8· ·window being broken open?
   ·9· · · · A· · You say wake up?
   10· · · · Q· · Yeah.
   11· · · · A· · How do you know he was sleeping?
   12· · · · Q· · Well --
   13· · · · A· · I'm asking.
   14· · · · Q· · Okay.· That's fair.
   15· · · · · · ·We know that he was lying on the couch
   16· ·in a reposed position; correct?
   17· · · · A· · I would say he was -- he was in a
   18· ·defensive position in a deep corner of a room when
   19· ·we entered and ambushed us, yeah.· I would say --
   20· ·he shot at us 18 times.
   21· · · · Q· · Okay.· So you think that there's a
   22· ·potential that he might have been awake at the
   23· ·time?
   24· · · · A· · I would say -- I would -- from what I
   25· ·can gather, after watching that, absolutely.                                   I


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   ·1· ·think it was an ambush.
   ·2· · · · Q· · Okay.· And so walk me through your --
   ·3· ·your thought process on that a little bit more.
   ·4· · · · A· · The minute Officer Kubla went through
   ·5· ·that door, he started taking rounds immediately.
   ·6· ·That gun was pointed directly at him.· There's --
   ·7· ·I mean, you can see the muzzle flash.
   ·8· · · · Q· · Had --
   ·9· · · · A· · Anybody that's in a dead sleep -- and
   10· ·I -- I mean, I've -- I've never been in this.· But
   11· ·anybody that's startled in a -- or comes out of --
   12· ·awake from a dead sleep and can shoot like that
   13· ·and place rounds like that that fast, they're one
   14· ·hell of a marksman.
   15· · · · Q· · Have you watched -- have you watched
   16· ·the -- have you watched the videos from the other
   17· ·angles?
   18· · · · A· · I've watched a couple.
   19· · · · Q· · Which other videos have you watched?
   20· · · · A· · I think I've seen Kubla's.· I saw
   21· ·Alex -- Sergeant Gonzalez's, and I think I saw
   22· ·Officer Clements' -- sorry.· No.
   23· · · · Q· · Okay.
   24· · · · · · · ·MR. ANDERSON:· And Rothenburg; right?
   25· · · · · · · ·THE WITNESS:· Yes, and Roth.


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   ·1· ·BY MS. MURPHY:
   ·2· · · · Q· · Okay.
   ·3· · · · A· · Yes, I'm sorry.· James.
   ·4· · · · Q· · Okay.
   ·5· · · · A· · He's a sergeant too, as well, now.
   ·6· · · · Q· · Right.· And so, listen, this is my only
   ·7· ·chance to speak to you until we go to trial, and I
   ·8· ·really do want to understand what you're going to
   ·9· ·go -- what you're going to -- what your intention
   10· ·is, if the case goes to trial, what you're going
   11· ·to say.· And so I want to be really clear.
   12· · · · · · ·Is it your testimony, as we sit here
   13· ·today, that you think that Mr. Williams was awake
   14· ·at the time that knock and announce was made?
   15· · · · · · · ·MR. ANDERSON:· Objection.· Form.
   16· · · · · · · ·Go ahead and answer.
   17· · · · · · · ·THE WITNESS:· I don't know if the man
   18· ·was awake or not.
   19· ·BY MS. MURPHY:
   20· · · · Q· · Okay.
   21· · · · A· · But you said he was sleeping.
   22· · · · Q· · Correct.
   23· · · · A· · I'm just answering it, like, how do we
   24· ·know he was sleeping?
   25· · · · Q· · Okay.


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   ·1· · · · A· · Because of where he was positioned at in
   ·2· ·that corner and the time it -- those rounds
   ·3· ·started firing off as we made entry, that was
   ·4· ·pretty fast.· That guy was there -- that guy was
   ·5· ·actively shooting at us.· He was there to kill us.
   ·6· · · · Q· · Okay.· And do you think that there's any
   ·7· ·possibility -- but you -- okay.· So there's the
   ·8· ·possibility he was either awake or asleep.
   ·9· · · · · · ·Being either awake or asleep, do you
   10· ·think that he had sufficient -- was there any
   11· ·indication before the door was -- was -- before
   12· ·the door was rammed open that he was going to
   13· ·refuse admittance to the officers?
   14· · · · A· · We gave a reasonable -- a reasonable
   15· ·amount of time to serve the search warrant.
   16· · · · Q· · Okay.
   17· · · · A· · That's a 650-square-foot apartment, one
   18· ·bedroom.· He was right there in that front
   19· ·bedroom.· He never announced or said, "Hey, I'm
   20· ·coming to the door."
   21· · · · Q· · Do you think that that was his duty, to
   22· ·say "I'm coming to the door"?
   23· · · · A· · I wouldn't say it's his duty, but most
   24· ·people -- I've seen it happen before, that most
   25· ·people said, yeah, I'm to the -- I mean --


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   ·1· · · · Q· · Okay.
   ·2· · · · A· · I mean, that's unless you have something
   ·3· ·to hide or you're, you know, setting something up.
   ·4· ·Then obviously you wouldn't.· I mean --
   ·5· · · · Q· · And so I'm going to go back to my
   ·6· ·earlier question, because I just want to clarify
   ·7· ·this one more time.
   ·8· · · · · · ·Before the door -- while the door was
   ·9· ·closed, other than Mr. Williams saying, "Hey, I'm
   10· ·coming to the door," did he provide any indication
   11· ·to any of you or the other officers outside that
   12· ·he was going to refuse admittance?
   13· · · · A· · Refuse admittance?
   14· · · · Q· · Yes.
   15· · · · A· · I didn't hear him say anything, no.
   16· · · · Q· · Okay.· And so we talked a little bit
   17· ·about what the reasonable amount of time is.· And
   18· ·as we sit here today, my understanding is that you
   19· ·don't -- based on your training, your experience,
   20· ·you don't think that there's, like, a guideline
   21· ·for a number of seconds or anything like that;
   22· ·correct?
   23· · · · A· · I've never seen anything that's a
   24· ·guideline that says that there's a certain amount
   25· ·of time.


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   ·1· · · · Q· · Okay.· Do you think that -- we talked
   ·2· ·about it a little bit before, but I want to, kind
   ·3· ·of, grind into it a little bit more.
   ·4· · · · · · ·One of the issues that you talked about
   ·5· ·in terms of reasonability of time was what the
   ·6· ·search warrant was seeking; correct?
   ·7· · · · A· · We were going after a murderer.
   ·8· · · · Q· · You were -- and, sorry.· And in this
   ·9· ·case, I just want to clarify.· I understand your
   10· ·comment, but sometimes it comes out a little bit
   11· ·different on paper.
   12· · · · · · ·That part of your assessment of what a
   13· ·reasonable time was, because you were going after
   14· ·a murderer; correct?
   15· · · · A· · The totality of the circumstances, the
   16· ·size of the structure.
   17· · · · Q· · Okay.
   18· · · · A· · Right?· The -- knowing that there are
   19· ·gang members in there.· Knowing that the
   20· ·stepmother said it's a narcotics flophouse.
   21· ·Knowing that they're heavily armed, that they've
   22· ·been -- they've recovered firearms previously from
   23· ·them on previous stops, knowing all of that.
   24· · · · Q· · Okay.· And so, Russ, I'm going to
   25· ·represent to you that there's some case law out


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   ·1· ·there that indicates that a reasonable amount of
   ·2· ·time can also be based on what the search warrant
   ·3· ·is seeking.· And so, for example -- and I'll read
   ·4· ·you an excerpt from a -- from a -- from a case.
   ·5· · · · · · ·"After 15 to 20 seconds without a
   ·6· ·response, officers could fairly have suspected
   ·7· ·that Banks would flush away the cocaine if they
   ·8· ·remained reticent."· And for the record, that's
   ·9· ·from page one -- that's case law cited from
   10· ·page 133 of the CIRT report.
   11· · · · · · ·And so one of the issues that it talked
   12· ·about in the CIRT report was a reasonable amount
   13· ·of time is also predicated on what type of
   14· ·evidence they're going after.· So a reasonable
   15· ·amount of time will be lesser for something that
   16· ·could -- like cocaine, that can be flushed away in
   17· ·a toilet, or otherwise destroyed.
   18· · · · A· · Correct.
   19· · · · Q· · Is that consistent with your knowledge,
   20· ·or am I telling you something new?
   21· · · · A· · That's consistent.
   22· · · · Q· · Okay.· Because you were -- you were on
   23· ·units before where you were going for narcotics;
   24· ·correct?
   25· · · · A· · Yes, ma'am, that's correct.· I worked


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   ·1· ·there for five years.
   ·2· · · · Q· · Yeah.· And so you're aware that somebody
   ·3· ·can run to the bathroom and dump cocaine in the
   ·4· ·toilet and flush it?
   ·5· · · · A· · I've seen all kinds of crazy things,
   ·6· ·yes.
   ·7· · · · Q· · All right.
   ·8· · · · A· · I've seen that, actually, yes.
   ·9· · · · Q· · Okay.
   10· · · · A· · I've seen run somebody to the back
   11· ·bathroom.
   12· · · · Q· · Okay.· But to confirm, in this case,
   13· ·although you had said that part of the totality of
   14· ·circumstances was that you believed that you were
   15· ·also going after a murderer, there was no evidence
   16· ·on that search warrant that could have been
   17· ·destroyed; correct?· The gun can't be destroyed.
   18· ·The cell phone can't be destroyed.· So there were
   19· ·no concerns like that; correct?
   20· · · · A· · No, there was not.
   21· · · · Q· · Okay.· And the totality of the
   22· ·circumstances and the reasonableness of the amount
   23· ·of time goes back to the elements that you listed
   24· ·earlier; correct?
   25· · · · A· · Right.· The size of the structure, the


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   ·1· ·propensity for violence, the violent individuals
   ·2· ·being inside, yes, all of that stuff.
   ·3· · · · Q· · Prior to this search warrant, had you
   ·4· ·received any training about what elements you had
   ·5· ·to comply with under both U.S. and Nevada law for
   ·6· ·a proper knock-and-announce entry?
   ·7· · · · A· · Proper knock-and-announce entry?
   ·8· ·Specific training?· I would have to refer back to
   ·9· ·my training record.· I know the -- I know that
   10· ·with the -- how that goes.· But official training,
   11· ·I think there was training in SWAT.· I don't know
   12· ·if it was before this incident, but I know we had
   13· ·some training afterwards.
   14· · · · Q· · What was the subsequent training you
   15· ·had?
   16· · · · A· · The subsequent training was -- it went
   17· ·over the CETs, the surround and call-outs, the
   18· ·announcements, all of that stuff.
   19· · · · Q· · And how do they go over it?· Can you
   20· ·give me a little more --
   21· · · · A· · Just went over it on a PowerPoint.
   22· · · · Q· · And what did the PowerPoint -- what
   23· ·information did the PowerPoints contain?
   24· · · · A· · Captain Cole went over it after he came
   25· ·back from NTOA.


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   ·1· · · · Q· · What's NTOA?
   ·2· · · · A· · National Tactical Officers Association.
   ·3· · · · Q· · And how soon after this incident did
   ·4· ·Captain Cole come back and give training on CET?
   ·5· · · · A· · He went to a conference, and I don't
   ·6· ·know the exact date.· I was out of work.· I don't
   ·7· ·know.
   ·8· · · · Q· · You don't have to give me exact date.
   ·9· ·If you can give me a time frame, to the best of
   10· ·your knowledge, like within --
   11· · · · A· · I don't -- I don't have the specific
   12· ·time he went.
   13· · · · Q· · If I said within a month or two --
   14· · · · A· · I don't know.
   15· · · · Q· · Okay.
   16· · · · A· · I was off work.
   17· · · · Q· · So -- so if you were off work, then it
   18· ·was within that four months; correct?
   19· · · · A· · Or maybe it was directly right after he
   20· ·went, and then he put it on.· I -- I don't
   21· ·remember.
   22· · · · Q· · That's okay.
   23· · · · A· · Yes.
   24· · · · Q· · Were -- were you part of that -- did you
   25· ·participate in that, or did you hear about it


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   ·1· ·after?
   ·2· · · · A· · The whole team was there.· We
   ·3· ·participated in part of it.· Yeah, I think --
   ·4· ·yeah, I sat through some of it.
   ·5· · · · Q· · To the best of your memory, was there
   ·6· ·any new information that was relayed about CETs or
   ·7· ·knock and announces during Capital Cole's
   ·8· ·presentation?
   ·9· · · · A· · I don't -- no, I don't think so.
   10· · · · Q· · Okay.· Then so what was the purpose --
   11· ·to your understanding, what was the purpose of the
   12· ·presentation?
   13· · · · A· · It was just to refresh everybody.
   14· · · · Q· · Okay.· Was there any discussion about
   15· ·a -- what a reasonable amount of time constitutes?
   16· · · · A· · I don't recall.
   17· · · · Q· · Okay.· Was there any discussion about
   18· ·when a CET can be used -- or C-E-T can be used?
   19· · · · A· · A CET?· There was discussions --
   20· ·discussions about the CET and why we used the
   21· ·tactic, but it's still the same stuff that we've
   22· ·talked about.
   23· · · · Q· · Okay.· And so obviously -- I mean, my
   24· ·next question is, what was your training about CET
   25· ·before this incident?


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   ·1· · · · A· · The training before, you know, was -- it
   ·2· ·was all about notifying our presence out front,
   ·3· ·verbalizing everybody in the stack, you know,
   ·4· ·that's out in front of the structure.· In training
   ·5· ·it was, you know, prior to making entry, everybody
   ·6· ·would verbalize very loudly, "Police department,
   ·7· ·search warrant" so that way the occupants inside
   ·8· ·would know, and also it would let the surrounding
   ·9· ·citizens know as well.
   10· · · · Q· · Okay.
   11· · · · A· · And to that point, CET also protects not
   12· ·only people inside a residence, but it could also
   13· ·protect citizens in -- in other -- other places
   14· ·too, as well.
   15· · · · Q· · Okay.· And so do you think that there
   16· ·was any possibility that Mr. Williams could have
   17· ·been confused by the distracts and not been aware
   18· ·that it was police officers coming through the
   19· ·door?
   20· · · · · · · ·MR. ANDERSON:· Objection.· Form.
   21· · · · · · · ·THE WITNESS:· I -- I wasn't -- I
   22· ·don't -- I don't know what the man thought.
   23· ·BY MS. MURPHY:
   24· · · · Q· · Okay.
   25· · · · A· · I couldn't tell you if he was -- I don't


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   ·1· ·know.
   ·2· · · · Q· · Okay.· So then it goes both ways.· You
   ·3· ·don't know if he was intending to murder police
   ·4· ·officers; correct?
   ·5· · · · A· · What I saw is, he was shooting at me.
   ·6· · · · Q· · Okay.· But I -- and that's fair.· So let
   ·7· ·me ask it a little bit differently.
   ·8· · · · · · ·There was no indication -- he never gave
   ·9· ·you --
   10· · · · A· · I wouldn't say he was trying to shoot
   11· ·me.· I'm sorry.· He was trying to kill me --
   12· · · · Q· · Okay.
   13· · · · A· · -- straight up.
   14· · · · Q· · Okay.· But as we sit here today, do you
   15· ·have any knowledge -- can you identify or say
   16· ·anything that he was aware that you were a police
   17· ·officer?
   18· · · · A· · Can he say?
   19· · · · Q· · Could he -- sorry.· Let me ask the
   20· ·question a little bit better.· I know I'm skipping
   21· ·over my words a little bit.
   22· · · · · · ·What you -- what you have testified to
   23· ·up to this point in time was that your feeling --
   24· ·and I don't mean like that pejoratively.· I'm
   25· ·really saying, like, your thought, your feeling --


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   ·1· · · · A· · When you asked me my opinion --
   ·2· · · · Q· · Yes, was that he was trying to kill you
   ·3· ·and your team members; correct?
   ·4· · · · A· · That was my opinion, yes.
   ·5· · · · Q· · Yes.
   ·6· · · · · · ·And so my question is, as we sit here
   ·7· ·today, are you able to give me any information
   ·8· ·that would indicate that Mr. Williams was aware
   ·9· ·that you were police officers at the time of that
   10· ·shooting?
   11· · · · A· · We gave him the announcements on the
   12· ·bullhorn.
   13· · · · Q· · While also detonating distracts;
   14· ·correct?
   15· · · · A· · Well, the announcements were made prior
   16· ·to the distracts going off, some of them.
   17· · · · Q· · One announcement was made; correct?
   18· · · · A· · I would have -- you would have to put
   19· ·back and -- and if you're going to be specific,
   20· ·you know, and how many exact announcements were
   21· ·made, but there were a lot of announcements being
   22· ·made.
   23· · · · Q· · Okay.· And I'm going to -- I'm going to
   24· ·cite to your -- your statement that you made, the
   25· ·recorded statement.


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   ·1· · · · · · ·And so you were reading from your
   ·2· ·statement on page 35, Bates LVMPD802.· This is
   ·3· ·from your statement, open quote, "The combination
   ·4· ·of these effects produce a psychological or
   ·5· ·sensory overload that can temporarily stun an
   ·6· ·individual," close quote.
   ·7· · · · · · ·What does stun -- to your understanding,
   ·8· ·what does stun mean?
   ·9· · · · A· · Stun -- having been around these
   10· ·distracts in training, there's a lot of
   11· ·overpressure from the distract itself.· The light
   12· ·itself, if you look at the distract, will cause
   13· ·you to look away.· That would be -- most people
   14· ·would be stunned from that.· And that's also part
   15· ·of the manufacturer -- it comes from the
   16· ·manufacturer that it's a -- it's called a stun
   17· ·stick.· It's for a stun.
   18· · · · · · ·It's to disorientate somebody.· To get
   19· ·them to stop what they're doing, to temporarily
   20· ·disorientate them, and then actually safely take
   21· ·them into custody and get them to stop doing
   22· ·whatever they're trying to do -- like, whatever
   23· ·violent type of thing they're trying to do while
   24· ·you're deploying it.
   25· · · · Q· · It can also confuse them; correct?


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   ·1· · · · A· · Very temporarily.
   ·2· · · · Q· · Okay.· And what's your definition of
   ·3· ·"very temporarily"?· I know it's hard to quantify
   ·4· ·these amounts, but I have to ask you --
   ·5· · · · A· · Each -- each person is different.
   ·6· · · · Q· · Right.
   ·7· · · · A· · And I would say I can't really put a
   ·8· ·specific time on that, because what would affect
   ·9· ·me would affect you differently or it would affect
   10· ·anybody in this room differently.
   11· · · · · · ·A second, half second, you know, two
   12· ·seconds.· It's just -- everybody -- it's -- it's
   13· ·to temporarily disorientate somebody,
   14· ·temporarily -- it's -- I don't have a set time I
   15· ·can give you.
   16· · · · Q· · Okay.· In this case, it would be fair to
   17· ·say that this did not cause Mr. Williams to become
   18· ·compliant; correct?
   19· · · · A· · I would say that he was not compliant.
   20· ·He was shooting at us after they went off.· He
   21· ·shot at us 18 times.
   22· · · · Q· · And do you think that being stunned
   23· ·could interfere with somebody's ability to
   24· ·understand that it was police coming through the
   25· ·door?


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   ·1· · · · A· · Prior to that, we gave him announcements
   ·2· ·that we were the police; we were serving a search
   ·3· ·warrant.· Could it?· I mean, I -- we won't know
   ·4· ·because -- I don't know.
   ·5· · · · Q· · So my question was a little bit
   ·6· ·different, though.· It was "could it."· Could
   ·7· ·it -- could being stunned prevent somebody from
   ·8· ·understanding that it's the police coming through
   ·9· ·the door?
   10· · · · A· · It's a possibility, yeah.· It could,
   11· ·yeah.
   12· · · · Q· · Okay.· All right.· All right.· And so,
   13· ·Russ, I'm going to -- I'm going to skip around a
   14· ·little bit, but I'm going to read some of the
   15· ·conclusions in the CIRT report --
   16· · · · A· · Okay.
   17· · · · Q· · -- and I'm going to ask your opinion on
   18· ·them.
   19· · · · · · ·And just to clarify, you read -- we
   20· ·discussed at the very beginning of the deposition,
   21· ·you did read the -- read most of the CIRT report;
   22· ·correct?
   23· · · · A· · Yes, ma'am, that's correct.
   24· · · · Q· · Yeah.· And I'm assuming -- you tell me
   25· ·if I'm right or wrong.· It's a thick report, and


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   ·1· ·it's hard to get through.
   ·2· · · · A· · It is quite long, yes, it is.
   ·3· · · · Q· · Yeah.· But you probably read the -- all
   ·4· ·the conclusions.· Is that fair to say?
   ·5· · · · A· · It's fair to say, yes.· Yes, ma'am.
   ·6· · · · Q· · Okay.· All right.· So I'm going to read
   ·7· ·to you the part -- it's the 3.6, and it's page
   ·8· ·215.
   ·9· · · · A· · Okay.
   10· · · · Q· · CIRT concluded, "While the SWAT section
   11· ·manual contained verbiage allowing for SWAT
   12· ·operators to conduct a CET for property when there
   13· ·is a threat of an armed and dangerous subject, it
   14· ·was not appropriate, given the amount of unknowns
   15· ·associated with Apartment 1125.· There were
   16· ·numerous amounts of unknown factors, to include
   17· ·who was actually staying in the apartment and if
   18· ·there were children, elderly, or vulnerable
   19· ·individuals present inside the apartment.
   20· · · · · · ·"SWAT's decision to serve the 3050 South
   21· ·Nellis Boulevard search warrant as a CET was a
   22· ·policy/training failure and not within the
   23· ·standardized LVMPD tactics training and policy,"
   24· ·end quote.
   25· · · · · · ·And so, Russ, I want to ask you about a


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   ·1· ·couple of things.· We talked earlier in the
   ·2· ·deposition about some of the unknowns.· And what
   ·3· ·you had indicated to me was that your memory was
   ·4· ·that the recon had ruled out that there was no
   ·5· ·children, no elderly, no vulnerable.· And, in
   ·6· ·fact, based on the CIRT report, they had not ruled
   ·7· ·any of those things out.
   ·8· · · · A· · I would say on the recon, they didn't
   ·9· ·see a kid's toy out front; being a small bike, a
   10· ·tricycle, a Big Wheel, something like that, or any
   11· ·toys -- any children's toys on the patio or
   12· ·anything like that that would indicate that there
   13· ·were children there.· That's what the recon
   14· ·brought back.
   15· · · · Q· · Okay.· In terms of elderly or vulnerable
   16· ·individuals, they had also not ruled those out
   17· ·either; correct?
   18· · · · A· · Well, you could say that would be more
   19· ·on the investigative side on whether that was
   20· ·ruled out or not, not on the SWAT section, on the
   21· ·recon guys.
   22· · · · Q· · Okay.· And then also who was actually
   23· ·staying in the apartment, there was no knowledge
   24· ·of who was actually staying there; correct?
   25· · · · A· · Except for the statement that the


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   ·1· ·homicide detectives got in reference -- Rembert's
   ·2· ·stepmother saying that's where he lived.
   ·3· · · · Q· · And hadn't she said that he had stayed
   ·4· ·there months earlier, and she wasn't sure where he
   ·5· ·was now?
   ·6· · · · A· · If that's what it says in the search
   ·7· ·warrant.
   ·8· · · · Q· · Okay.· Not in the -- okay.
   ·9· · · · · · ·And then what's your opinion where it
   10· ·concludes that this was a policy training failure
   11· ·and not within standardized LVMPD tactics?
   12· · · · A· · Well, and that's obviously the SMEs, and
   13· ·I don't know who they were or how they drew all of
   14· ·their conclusions to those certain factors that
   15· ·you just pointed out.
   16· · · · · · ·I would say everybody has an opinion.
   17· ·Right?
   18· · · · Q· · I think I know where you're going with
   19· ·the rest of that statement, but let's keep it
   20· ·clean for the transcript.
   21· · · · A· · You know, in -- looking at this as an
   22· ·opinion, were we within policy of the section at
   23· ·the time of the section?· Everything that I did
   24· ·that I relayed to my boss was within section
   25· ·policy, yes.


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   ·1· · · · Q· · Okay.· All right.
   ·2· · · · A· · I did -- and I relayed everything to
   ·3· ·her, the information that I had, and said, "Hey,
   ·4· ·this is what we have and this is where -- this is
   ·5· ·the tactic that we want to use," and she approved
   ·6· ·it.
   ·7· · · · · · ·Was that within -- without being in
   ·8· ·standards of LVMPD policy?· I don't -- that's --
   ·9· ·that's the question -- that's a million-dollar
   10· ·question there.· I mean, that's very, very
   11· ·debatable there.
   12· · · · Q· · Okay.
   13· · · · A· · I mean, different people are going to
   14· ·have different -- you know, different viewpoints.
   15· ·And I would say it's the -- we'll use the word
   16· ·viewpoints.
   17· · · · · · ·But my -- my viewpoint on this is, we
   18· ·can always get better.· And there's some things
   19· ·that you can -- you always learn from any incident
   20· ·that you're a part of or on.· And we could have
   21· ·sent the recon team back out again.· They could
   22· ·have said, "Hey we did this and" -- you know, that
   23· ·could have happened again, stuff like that.
   24· · · · · · ·So, I mean, there are some things that
   25· ·could be done better, yes.· There's some things --


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   ·1· ·I mean, and that's looking at it now after the
   ·2· ·fact.· That's not knowing, you know, after this
   ·3· ·had happened before.
   ·4· · · · Q· · And so my --
   ·5· · · · A· · As far as the brass wrap door, I mean,
   ·6· ·there's other stuff too, you know.
   ·7· · · · Q· · What's the other stuff?
   ·8· · · · A· · That's -- that's it.· You know, the
   ·9· ·brass wrap door, knowing that.
   10· · · · Q· · And so part of my -- my -- part of my
   11· ·understanding about what you've just said is that
   12· ·you kind of -- if we're going to call this, like,
   13· ·a -- to use a simple analogy, this whole thing is
   14· ·a pie.· Right?
   15· · · · A· · Right.
   16· · · · Q· · And you're saying, hey, for my slice of
   17· ·the pie, I operated within policy and procedure.
   18· ·Is that fair to say?
   19· · · · A· · I did the best I could with all of the
   20· ·facts that I had.
   21· · · · Q· · Okay.· And I'm going to read you another
   22· ·conclusion, and it's 3.8 from page 216.· Open
   23· ·quote, "Under the conditions present here, six
   24· ·seconds was insufficient time to allow occupants
   25· ·time to answer the door, let alone submit to a


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   ·1· ·search," end quote.
   ·2· · · · · · ·Having -- you have extensive experience
   ·3· ·working for LVMPD.· Although this was the first
   ·4· ·time you had done a CET, I think that you
   ·5· ·testified earlier that you have served search
   ·6· ·warrants and other -- you know, in other areas and
   ·7· ·other units.
   ·8· · · · · · ·Do you agree or disagree that six
   ·9· ·seconds was insufficient to allow time -- to allow
   10· ·sufficient time for an occupant to answer the
   11· ·door?
   12· · · · A· · That structure was a one-bedroom,
   13· ·one-bath apartment, a narcotics flophouse where
   14· ·people are up 24/7.· From my experience --
   15· · · · Q· · And --
   16· · · · A· · -- of being narcotics, dealers, gang
   17· ·members, six seconds, knowing now how -- how this
   18· ·transpired, that was a -- we did what we could
   19· ·under a reasonable amount of time, and there's no
   20· ·set time.· It's what's objectively reasonable at
   21· ·that time with the facts that you have.
   22· · · · · · ·So I don't -- whoever came up with that,
   23· ·is that -- was that an SME?· Or where did that
   24· ·come from?
   25· · · · Q· · That -- and I'm happy to show it to you


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   ·1· ·too.· It's -- give me one second.· Let me pull up
   ·2· ·the -- it's conclusion --
   ·3· · · · A· · Because that seems like an opinion-based
   ·4· ·thing as well.· Right?
   ·5· · · · Q· · Give me one second.
   ·6· · · · · · ·CIRT and SMEs.· So it was both CIRT and
   ·7· ·SMEs that concluded that.
   ·8· · · · A· · Okay.
   ·9· · · · Q· · Okay.· And that's from Section 3.8, and
   10· ·it cites case law as well.· I'm happy to let
   11· ·you --
   12· · · · A· · Okay.· I understand what you're saying.
   13· · · · Q· · Trust me, I'm not trying to misrepresent
   14· ·anything to you.
   15· · · · A· · Right.· Yeah.
   16· · · · Q· · All right.· And so if understand your --
   17· ·sometimes I like to read -- like I explained to
   18· ·you before, I like to read and write things,
   19· ·because I want to make sure I really understand
   20· ·them.
   21· · · · · · ·As we sit here today, it's your position
   22· ·that six seconds was -- based on the totality of
   23· ·circumstances, including the size of the
   24· ·apartment, that six seconds was sufficient time to
   25· ·allow him to -- to allow whomever inside the


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   ·1· ·apartment to let you guys gain access
   ·2· ·nonforcefully?· I don't know if that's the right
   ·3· ·term.
   ·4· · · · A· · Six -- we went inside the door at 15
   ·5· ·seconds.· The six seconds -- and you're asking an
   ·6· ·opinion-based question.
   ·7· · · · Q· · Uh-huh.
   ·8· · · · A· · Could it have been reasonable for what
   ·9· ·the person saw there at the time when they did
   10· ·that?· Knowing that there was a -- we're going
   11· ·after a murderer and a murder suspect and they're
   12· ·heavily armed, it could be reasonable, yeah.
   13· · · · Q· · Okay.· And then conclusion three -- part
   14· ·of Conclusion 3.9, open quote, "Officers
   15· ·immediately lost the elements of a CET, of
   16· ·utilizing speed to surprise and overwhelm the
   17· ·subject per their manual by being stuck at the
   18· ·door and hitting it multiple times prior to
   19· ·entering the residence," close quote.
   20· · · · · · ·And we talked about that a little bit
   21· ·before.· And as we sit here today, you agree with
   22· ·that, don't you?
   23· · · · A· · Well, that's an opinion from an SME.
   24· ·Right?· A viewpoint, you would say.
   25· · · · Q· · Correct.


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   ·1· · · · A· · That is a call that's not -- that is a
   ·2· ·call that you make at the time while you're there.
   ·3· ·And the point I would make is, okay, there's been
   ·4· ·one hit on the door with the ram.· Is it flexing?
   ·5· ·Is -- are they getting flexion?· Does it look like
   ·6· ·it's going to get ready to get open?· Do you -- do
   ·7· ·you understand what I'm saying?
   ·8· · · · Q· · I do understand.
   ·9· · · · · · ·And based on the video, I don't think it
   10· ·was flexing.
   11· · · · A· · Okay.· That was -- that was my video.
   12· · · · Q· · Right.
   13· · · · A· · That I watched, I didn't see that.
   14· · · · Q· · Okay.
   15· · · · A· · Fair?
   16· · · · Q· · Yeah, no, no, no.· Fair.
   17· · · · · · ·I'm telling you, from my point of view,
   18· ·I didn't see that it looked like --
   19· · · · A· · The guys up front would make that call.
   20· · · · Q· · Okay.· And so -- okay.· So then -- so
   21· ·then is it your position that the guys that are
   22· ·really right at the door, you would rely on them
   23· ·to call the tactical?
   24· · · · A· · Absolutely.
   25· · · · Q· · Okay.


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   ·1· · · · A· · You've got to rely on your people to do
   ·2· ·their jobs.
   ·3· · · · Q· · Okay.· And so going back to the
   ·4· ·statement itself, though, do you agree or disagree
   ·5· ·that you lost the elements of the CET by not doing
   ·6· ·an immediate breach?
   ·7· · · · A· · Any time that you have an immediate
   ·8· ·breach, you're obviously going to have the element
   ·9· ·of speed, surprise, and overwhelming action on
   10· ·your side when it's -- when it's -- when it comes
   11· ·open with one hand.· It was delayed.
   12· · · · Q· · And, Russ, based on -- having read
   13· ·your -- the statement that you gave as part of
   14· ·this, one of the issues -- and you -- you read
   15· ·your statement recently.
   16· · · · A· · Yeah.
   17· · · · Q· · That you thought -- looking back on it
   18· ·now, one of the things that you would have changed
   19· ·is you thought this should have been an explosive
   20· ·entry; correct?· I'm telling you what you gave --
   21· ·what statement you gave in your -- in your -- in
   22· ·your recorded statement.
   23· · · · A· · With a brass-wrapped door with a tactic
   24· ·like that, knowing -- if we would have known that
   25· ·there was a brass wrap on that door, that would


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   ·1· ·have been definitely an option for a better tactic
   ·2· ·and a safer tactic for us.· And also for the
   ·3· ·people there, to get that door down without
   ·4· ·having -- putting officers up front of it in
   ·5· ·harm's way, knowing that there's automatic weapons
   ·6· ·inside that residence with the possibility -- and
   ·7· ·we're going after a murder suspect too, you know.
   ·8· · · · · · ·So, yes, a brass wrap on that door
   ·9· ·would -- there -- a better tactic would be to
   10· ·utilize an explosive breach on that, after the
   11· ·fact, knowing this now.
   12· · · · Q· · Right.· And so in your -- in your
   13· ·recorded statement, you said -- and I'm not trying
   14· ·to -- one of the statements, there was
   15· ·explosive -- when they asked you, "What you would
   16· ·do differently?" and your response was -- part of
   17· ·it was, "Explosive breach is the main one."
   18· · · · A· · That's one of the things -- and I guess
   19· ·I was answering that from an after-the-fact
   20· ·tactical spot of what I knew then and with the
   21· ·door having the brass wrap, after the fact.
   22· · · · Q· · Okay.· And -- okay.· And I -- if I've
   23· ·already asked this, you're going to have to --
   24· ·you're going to have to excuse me.· I'm going to
   25· ·ask it one more time.


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   ·1· · · · · · ·Do you think that a tactical ought to
   ·2· ·have been called?
   ·3· · · · A· · Ought to have been called?
   ·4· · · · Q· · Yes.
   ·5· · · · A· · In this situation?
   ·6· · · · Q· · Yes.
   ·7· · · · A· · It could have been.· But the guys up
   ·8· ·front that saw it didn't make the tactical call.
   ·9· ·I was at the back, so I couldn't see what they
   10· ·were seeing.· So for me to sit here and say -- to
   11· ·give it what they saw and what -- I can't say --
   12· ·yeah, five hits is a lot, because there's a lot of
   13· ·time on target.
   14· · · · · · ·However, I was -- they were trusted by
   15· ·Sergeant Findley, because he was the team leader
   16· ·at the time, that, hey, we're going to -- he --
   17· ·he's trusting them to make the call up front.
   18· ·Different SMEs, different peoples of opinion will
   19· ·probably say, yeah, that's a lot of time on
   20· ·target.· That's a lot of time up front.
   21· · · · · · ·Other people would say, hey, no.· We
   22· ·were there.· We saw the door.· We saw we were
   23· ·getting -- we were making headway, and they --
   24· ·they saw the door flexing, and they knew that it
   25· ·would come open.


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   ·1· · · · · · ·It's -- it's all based on the person's
   ·2· ·thought and what they thought at the time and what
   ·3· ·they knew at the time based on what they saw at
   ·4· ·that time, which I didn't see.
   ·5· · · · Q· · Okay.· The other thing that you said in
   ·6· ·terms of when -- during your recorded statement,
   ·7· ·the things that you thought they should do
   ·8· ·differently, is you thought this should have been
   ·9· ·a no-knock search warrant; is that correct?
   10· · · · A· · Yes, ma'am, that's correct.
   11· · · · Q· · Okay.· Could -- could this type of
   12· ·property-only search warrant have been approved
   13· ·for a no-knock warrant?
   14· · · · A· · Well, I'll back up on that.
   15· · · · Q· · You tell me -- like I said, other than
   16· ·trial, this is my only opportunity to talk to you.
   17· ·So you tell me exactly what you think and what
   18· ·your opinions are, because I want to know.
   19· · · · A· · Opinions of the case, I would say that
   20· ·the gang unit had probable cause for a shooting
   21· ·with Mr. Rembert, and he was a shooter, which
   22· ·would take that and actually be a -- that's a
   23· ·felony, shoot -- you know, shooting at somebody.
   24· ·You know, there's a victim, whether it's, you
   25· ·know, assault with a deadly weapon, shooting at --


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   ·1· ·you know, we could go on and on and on.
   ·2· · · · Q· · Okay.
   ·3· · · · A· · So that would -- that could have changed
   ·4· ·some things with the case, knowing the
   ·5· ·relationship of the violent individuals in there,
   ·6· ·that we're also investigating a murderer, there's
   ·7· ·an outstanding murder weapon, that they have a
   ·8· ·high propensity of violence, and they're gang
   ·9· ·members, you know, on a drive-by recon that there
   10· ·was a brass wrap door on some stuff, yeah,
   11· ·absolutely, this could have been -- you know, this
   12· ·could have been a possibility on the investigative
   13· ·side, not on the SWAT side.
   14· · · · Q· · To do a no-knock -- to do a no-knock --
   15· · · · A· · They would have drafted that.· We don't
   16· ·do that.· That's -- that's -- that's -- that's on
   17· ·the investigative end.
   18· · · · Q· · Do you think that they ought to have
   19· ·done that?
   20· · · · A· · Do I think they ought to have?
   21· · · · Q· · Yeah.
   22· · · · A· · I don't have all of the facts --
   23· · · · Q· · Okay.
   24· · · · A· · -- pursuant to everything as far as the
   25· ·investigative side, because I wasn't there.· I'm


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   ·1· ·saying it could have been an option.
   ·2· · · · Q· · Okay.· So -- but as we sit here today,
   ·3· ·based on the type of search warrant that this was,
   ·4· ·it -- and I -- maybe you said it to me, and I just
   ·5· ·don't understand.
   ·6· · · · · · ·Based on the type of search warrant, is
   ·7· ·it your understanding that they could have
   ·8· ·obtained a no-knock warrant?
   ·9· · · · A· · They -- you would -- I would -- you
   10· ·would have to ask the investigative detail on
   11· ·that, specifically on what they had --
   12· · · · Q· · Okay.
   13· · · · A· · -- and all of the facts.· Because, like
   14· ·I said, I don't know all of their facts on what
   15· ·crimes and -- and all the details of all of the
   16· ·actual specifics on that -- you know, on that
   17· ·part.· I do -- you know, and even on the murder
   18· ·part, you know.· There's -- there's probably some
   19· ·facts there that could have been articulated as
   20· ·well.
   21· · · · Q· · And then also from 3.9 on page 220, open
   22· ·quote, "CET only to be utilized when a no-knock
   23· ·search warrant is approved by the LVMPD and has
   24· ·judicial preapproval," close quote.
   25· · · · · · ·As we sit here today, is it your


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   ·1· ·understanding that the policy at LVMPD has been
   ·2· ·altered so that a CET can only be utilized when --
   ·3· ·when executing a no-knock warrant?
   ·4· · · · A· · Yes.
   ·5· · · · Q· · All right.· And so if this same search
   ·6· ·warrant were to be executed today, it would be a
   ·7· ·surround and call-out; correct?
   ·8· · · · A· · Yes.
   ·9· · · · Q· · And then from the conclusion, 5.5, page
   10· ·218, "CIRT and SMEs concluded Lieutenant O'Daniel
   11· ·did not use proper discretion when she approved
   12· ·the use of a stun stick through the west-facing
   13· ·window."· Portion omitted.· "Lieutenant O'Daniel's
   14· ·management of tactics for the requested approval
   15· ·of tactics and tools, as the tactical commander,
   16· ·was not within standardized LVMPD tactics training
   17· ·and policy."
   18· · · · · · ·And, Russ, I understand that you may not
   19· ·want to comment on whether or not Lieutenant
   20· ·O'Daniel did her job correctly.
   21· · · · · · ·But do you have any position on that
   22· ·statement?
   23· · · · A· · Position as far as what?
   24· · · · Q· · Opinion on it.
   25· · · · A· · Opinion.· Viewpoint/opinion.


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   ·1· · · · Q· · Correct.
   ·2· · · · A· · I think Lieutenant O'Daniel got the
   ·3· ·facts relayed to her, and I thought she made the
   ·4· ·decision based off of what she knew at the time.
   ·5· ·And I -- I think that she did her job and the --
   ·6· ·that's obviously a very opinionated question
   ·7· ·coming from somebody on there as far as SME.
   ·8· · · · · · ·Am I correct on that?
   ·9· · · · Q· · Yeah, it's from the -- it's from the
   10· ·CIRT conclusion, so I think it's certain --
   11· · · · · · · · · ·(Indiscernible crosstalk.)
   12· · · · A· · Yeah, you would have to ask more
   13· ·in-depth of Lieutenant O'Daniel of what she
   14· ·thought and why she -- why she, you know, did what
   15· ·she did with that and made -- made the calls that
   16· ·she made.· I can't give you an exact explanation
   17· ·of what she thought and what she knew at the
   18· ·time -- you know, what her thought was.
   19· · · · Q· · Okay.· And then I will -- from Section
   20· ·5.5, "Captain Cole and Lieutenant O'Daniel's
   21· ·approval of homicide IAP and search warrant for
   22· ·the use of SWAT service was not within
   23· ·standardized LVMPD tactics training and policy."
   24· · · · · · ·Do you have any position or opinion on
   25· ·that?


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   ·1· · · · A· · You would have to refer to what they did
   ·2· ·and -- what they did at the time.· They made the
   ·3· ·decisions that they made because they were in
   ·4· ·those positions, about information that they were
   ·5· ·given, either through the affiant or through the
   ·6· ·affiant supervision or the case agent from
   ·7· ·homicide.
   ·8· · · · · · ·So I don't know exactly, you know, how
   ·9· ·they came to that conclusion or what all the facts
   10· ·are.· I don't know on that one.
   11· · · · Q· · Okay.· And as we sit here today, have
   12· ·you come to learn anything about Mr. Williams
   13· ·since this incident?
   14· · · · A· · Learned anything about Mr. Williams
   15· ·since this incident?
   16· · · · Q· · Let me ask a -- a better predicate
   17· ·question.
   18· · · · · · ·As we sit here today, you probably
   19· ·assumed that that was either Wattsel or -- is it
   20· ·Corvel?
   21· · · · A· · Fisher.
   22· · · · Q· · -- Fisher at the time that you were
   23· ·executing the search warrant; correct?
   24· · · · A· · Yeah.
   25· · · · Q· · If you even had that thought.


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   ·1· · · · · · ·Did you?
   ·2· · · · A· · I thought -- yeah, I thought that was --
   ·3· · · · Q· · Okay.
   ·4· · · · A· · You're getting shot at when you roll
   ·5· ·into a room.· I mean, yeah.
   ·6· · · · Q· · And so as we sit here today, you
   ·7· ·understand that it was actually Isaiah Williams,
   ·8· ·not either of the two murder suspects?
   ·9· · · · A· · After the fact, yes.
   10· · · · Q· · Okay.· Other than understanding that he
   11· ·was neither -- he was not one of the two murder
   12· ·suspects, do you know anything else about
   13· ·Mr. Williams, as we sit here today?
   14· · · · A· · I know that he had a mother.· I feel bad
   15· ·for her, the family.· Yeah.· I mean, he's got --
   16· ·he's -- I mean, there's a mother involved here
   17· ·that doesn't have her son.
   18· · · · Q· · Yeah.
   19· · · · A· · But we're all alive as well.
   20· · · · Q· · Aside from Mr. Williams having a mother,
   21· ·do you know anything else about Mr. Williams?
   22· · · · A· · I've seen a picture of him, you know, I
   23· ·had -- after the fact.· I knew nothing about him
   24· ·though.
   25· · · · Q· · Okay.· And as we sit here today, in


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   ·1· ·fact, having gone to execute this search warrant,
   ·2· ·none of the items that were being sought in that
   ·3· ·search warrant were actually present in the unit;
   ·4· ·correct?
   ·5· · · · A· · You would have to ask the homicide
   ·6· ·detectives that did the search warrant.· I don't
   ·7· ·know what --
   ·8· · · · Q· · You have no knowledge about whether or
   ·9· ·not they recovered anything?
   10· · · · A· · I don't have firsthand knowledge of what
   11· ·they recovered right now, no.
   12· · · · Q· · Okay.· So -- okay.· Okay.· You do have
   13· ·firsthand knowledge that neither of the two murder
   14· ·suspects were within the unit; correct?· The
   15· ·apartment unit.
   16· · · · A· · Obviously, yeah.
   17· · · · Q· · Okay.· As we sit here today, would you
   18· ·qualify the execution of this -- this warrant,
   19· ·would you qualify it as a -- as a success or a
   20· ·failure?
   21· · · · · · · ·MR. ANDERSON:· Objection.· Form.
   22· · · · · · · ·Go ahead.
   23· · · · · · · ·THE WITNESS:· There's a human life
   24· ·here.· What's successful about that, a mother that
   25· ·doesn't have her kid?· That's an absolute failure.


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   ·1· · · · · · · ·The success is, I'm sitting here today
   ·2· ·to be able to tell you about it, because I came
   ·3· ·out alive.· Because I got shot at numerous times
   ·4· ·by that man.· My kid still has a dad.· Those other
   ·5· ·cops that I was in that room with, my partners, my
   ·6· ·teammates are still alive, who are all dads.· And
   ·7· ·they're able to go home to their kids.
   ·8· · · · · · · ·That's a success there.· Because we're
   ·9· ·still alive.· He chose that.· He made that happen
   10· ·as a failure.· He shot at us.· That failure is
   11· ·him.· He failed us.· He shot at us 18 times.
   12· ·BY MS. MURPHY:
   13· · · · Q· · Okay.· Other than the items that we have
   14· ·already discussed, whether it is using the -- an
   15· ·explosive breach, having a no-knock warrant, is
   16· ·there anything else that you would have done -- in
   17· ·hindsight, that you would have done differently?
   18· · · · A· · Prayed more for that kid not to be there
   19· ·and shot at us.
   20· · · · Q· · Okay.· That's fair.· If that's your
   21· ·answer, that's your answer.
   22· · · · A· · Yeah, I wish that kid wouldn't have been
   23· ·in there and shot at us.· If he wouldn't have shot
   24· ·at us, this wouldn't have happened.
   25· · · · Q· · Yeah.· All right.· I'm just going to go


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   ·1· ·through -- I think I might -- oh, the other thing
   ·2· ·I wanted to ask you about is -- and we have -- you
   ·3· ·know, we need to cover it, Russ, is that you had
   ·4· ·not attended SWAT school; correct?
   ·5· · · · A· · Correct.
   ·6· · · · Q· · Okay.· And can you -- as we sit here
   ·7· ·today, did you ever attend SWAT school?
   ·8· · · · A· · After the fact, yes.
   ·9· · · · Q· · Okay.· And did you have to attend that
   10· ·before you went back on SWAT?
   11· · · · A· · Yeah.· I attended it right when I came
   12· ·off administrative leave.
   13· · · · Q· · Okay.· And can you kind of walk me
   14· ·through why you didn't -- why you had not attended
   15· ·SWAT at the time of this -- SWAT school, sorry, at
   16· ·the time of this incident?
   17· · · · A· · That would -- that was Lieutenant
   18· ·O'Daniel.· They run a -- at that time, how the
   19· ·training section worked -- and this is -- this was
   20· ·at that time -- what was revealed to me by her was
   21· ·we run the SWAT school every March, and it was a
   22· ·timing thing.
   23· · · · · · ·Because according to what
   24· ·Lieutenant O'Daniel explained to me -- because I
   25· ·even asked her -- was it was because it's


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   ·1· ·labor-intensive.· There's a lot of bodies.· It
   ·2· ·takes -- it's a manpower-intensive school.
   ·3· ·It's -- you know, it's very intense, and they did
   ·4· ·it every March.· And it just was the timing issue,
   ·5· ·because I transferred to the unit in December.
   ·6· · · · Q· · Why -- why did you transfer -- why did
   ·7· ·you transfer in December?
   ·8· · · · A· · Because that's when the opening was
   ·9· ·there.
   10· · · · Q· · Okay.· Did you -- did you fill in
   11· ·somebody else's position?
   12· · · · A· · Yes.
   13· · · · Q· · Okay.· And had you -- I mean, had you --
   14· ·I mean, I know that SWAT is very prestigious.
   15· · · · · · ·Had you wanted -- obviously, had you
   16· ·wanted to join SWAT?
   17· · · · A· · Of course.
   18· · · · Q· · Okay.· I'm going to ask you -- I'm going
   19· ·to -- I think I've covered almost everything.                                    I
   20· ·just wanted to ask you about some of the stuff in
   21· ·your discovery responses.
   22· · · · · · ·Did you -- for -- in preparation for
   23· ·today's deposition, did you go over -- let me show
   24· ·it to you too.· We call them interrogatories and
   25· ·requests for production.


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   ·1· · · · A· · Yes, I've seen that.
   ·2· · · · Q· · Okay.· All right.· And I'm going to ask
   ·3· ·you about the citizen complaints.· I'm just going
   ·4· ·to allow you a little bit more time and space
   ·5· ·to -- you've outlined them in response to Request
   ·6· ·for Production Number 17, which asks, "Produce a
   ·7· ·copy of all citizen complaints regarding the
   ·8· ·defendant" -- that's you -- "to which these
   ·9· ·requests were -- were directed."
   10· · · · · · ·And so I have -- one, two, three,
   11· ·four -- I have four citizen complaints.
   12· · · · · · ·Do you remember all of these, or did you
   13· ·want this to refresh your recollection?
   14· · · · A· · I might need to look at that to
   15· ·refresh --
   16· · · · Q· · Part of it is highlighted on the second
   17· ·page.
   18· · · · A· · Okay.
   19· · · · Q· · I'll just hand you those right now.
   20· ·Sorry, that's the first page.· You just flip them.
   21· ·That's the page before.· No, no, no.· Sorry.
   22· · · · A· · You got two of them here.· You said
   23· ·there's four.
   24· · · · Q· · No, no, no.· Sorry.· There's four
   25· ·incidents.· So one, two, three, four, in response


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   ·1· ·to Request Number 17.· One, two, three, four.
   ·2· · · · A· · Okay.
   ·3· · · · Q· · Can you kind of briefly explain those
   ·4· ·different incidents for me?
   ·5· · · · A· · Oh, yeah.· Embarrassing, at least two of
   ·6· ·them are.
   ·7· · · · · · ·I got an off-duty incident where I was
   ·8· ·intoxicated and found in possession of a firearm
   ·9· ·was one.· That was embarrassing.· And then I
   10· ·received an off-duty DUI in 2015 while I was
   11· ·assigned to the organized crime bureau, criminal
   12· ·intelligence section.· And that's when I was
   13· ·returned to patrol, and I gave you that statement
   14· ·in chronological order of my timeline in my
   15· ·career.
   16· · · · · · ·The next one, the citizen complaint that
   17· ·I stole money and whatnot, I'm trying to recall
   18· ·that.· The defendant was one of the officers.
   19· ·That was the Larry Ronetti [phonetic spelling]
   20· ·incident.· I think that was -- I had nothing to do
   21· ·with that.· I don't think I was actually there for
   22· ·that.· I don't know how my name is -- but -- but
   23· ·okay.
   24· · · · · · ·And then the property owner complained
   25· ·about being on his property, and we -- there was


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   ·1· ·no policy violation, obviously, on that.· That was
   ·2· ·a patrol incident when I was a patrol sergeant
   ·3· ·with one of the guys.
   ·4· · · · Q· · Okay.
   ·5· · · · A· · But, yeah, those -- the first two are
   ·6· ·embarrassing, and I grew and learned from them.
   ·7· ·And I made a mistake, but that was over almost ten
   ·8· ·years ago.· One of them was over ten years, and
   ·9· ·the one is almost going to be ten years next
   10· ·February.
   11· · · · · · · ·MS. MURPHY:· Okay.· All right.· Can I
   12· ·take those back?· Thank you.
   13· · · · · · · ·All right.· And if you can just --
   14· ·hopefully I'm going to wrap up.· Why don't we go
   15· ·off for five minutes.· I'm just going to review my
   16· ·notes.
   17· · · · · · · ·THE VIDEOGRAPHER:· We are going off
   18· ·record at 3:19 p.m.
   19· · · · · · · · · ·(Whereupon, a recess was taken.)
   20· · · · · · · ·THE VIDEOGRAPHER:· We are back on
   21· ·record at 3:24 p.m.
   22· ·BY MS. MURPHY:
   23· · · · Q· · Russ, one of the things you talked about
   24· ·in your recorded statement was you being on the
   25· ·stack.· And they asked you if you were aware of


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   ·1· ·any policy that said you couldn't -- standard
   ·2· ·operating procedure that you cannot be on an entry
   ·3· ·team until you've completed SWAT school.
   ·4· · · · · · ·As we sit here today, do you have any
   ·5· ·knowledge of that?
   ·6· · · · A· · That you can't complete entry unless
   ·7· ·you've completed the SWAT school?· I had no
   ·8· ·knowledge of that, no.
   ·9· · · · Q· · Okay.· And also, Russ, you talked about
   10· ·providing some screenshots of text messages
   11· ·between you and Lieutenant O'Daniel regarding
   12· ·getting authorization for this -- this -- this
   13· ·search warrant.
   14· · · · · · ·Did you ever provide those?
   15· · · · A· · I believe I gave them -- oh, God, it's
   16· ·been so long.· I believe I gave them to the CIRT
   17· ·guys.· It would have been Roth.
   18· · · · Q· · Okay.
   19· · · · A· · I think I gave them to him.                              I
   20· ·thought -- I thought I did.· But I know that he --
   21· ·it's been so long, I can't tell -- I don't -- I
   22· ·thought I did is my answer.· Yeah.
   23· · · · Q· · So, Russ, you talked about -- and quite
   24· ·a few people have talked about it.
   25· · · · · · ·One of the reasons to use the CET was an


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   ·1· ·incident where a guy kicked through an
   ·2· ·apartment -- the apartment stucco into another
   ·3· ·unit.
   ·4· · · · · · ·Do you remember talking about that?
   ·5· · · · A· · Can you -- refer a little bit more,
   ·6· ·please?
   ·7· · · · Q· · Sure.· I'll read you a quick quote.· And
   ·8· ·it's from page 42 --
   ·9· · · · A· · Okay.
   10· · · · Q· · -- of your statement.· "I've seen it
   11· ·even in NV.· Guys will kick through -- through the
   12· ·apartment stucco and go into the next apartment,
   13· ·and then we could create a potential hostage
   14· ·situation."
   15· · · · A· · Okay.
   16· · · · Q· · End quote.
   17· · · · A· · Okay.
   18· · · · Q· · Can you explain -- several of the SWAT
   19· ·guys have brought up that situation.
   20· · · · · · ·Can you tell me more about that?
   21· · · · A· · That situation or, like, are you
   22· ·implying, like, that we have seen that happen
   23· ·before on previous operations?
   24· · · · Q· · Yes.
   25· · · · A· · So -- and I think I'm referring to the


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   ·1· ·statement when I was in major violators as a
   ·2· ·detective, and I was also there as a sergeant.
   ·3· ·Any time that you have a wanted, armed individual
   ·4· ·that does not want to be apprehended or captured
   ·5· ·that's in an apartment complex or even sometimes
   ·6· ·in a condominium, where there's two different
   ·7· ·types of structures -- a townhouse -- you can
   ·8· ·see -- we have seen and we do know from our
   ·9· ·experience, and we have seen it live, where people
   10· ·will actually kick through an apartment wall to
   11· ·escape and go into another apartment or dwelling.
   12· · · · · · ·And you could potentially create a
   13· ·hostage situation with something like that,
   14· ·because they're trying to flee.· They are armed.
   15· ·They have a gun.· Those people don't know them.
   16· ·You don't know what that individual's mindset is
   17· ·going to be.
   18· · · · · · ·So that -- that -- that's a very, very,
   19· ·very critical piece there, to ensure that you try
   20· ·to avoid having that happen, because of those poor
   21· ·people that are there in that other residence.
   22· ·That's a safety issue.· Especially when you know
   23· ·you're dealing with somebody that's got a
   24· ·propensity for violence, that's also committed the
   25· ·crime of murder or -- and we're looking for a


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   ·1· ·murder weapon and they're gang members, so --
   ·2· · · · Q· · In your -- so have you seen that more
   ·3· ·than one time?
   ·4· · · · A· · Oh, yes.· I've seen somebody kick
   ·5· ·through a wall more than once, yeah.
   ·6· · · · Q· · How long does that take?
   ·7· · · · A· · Depends on how good they are and how --
   ·8· ·if they can tunnel through -- if they hit the
   ·9· ·studs, they might have to kick it again.· Because
   10· ·you know how houses are built in Las Vegas or
   11· ·apartment homes.· You -- usually they're -- you
   12· ·know, depending on how they frame it and, you
   13· ·know, how the walls are built -- I can't tell you,
   14· ·because I'm not in construction.
   15· · · · · · ·But, you know, if -- they can kick
   16· ·through and they can tunnel through anything.· If
   17· ·someone wants to escape bad enough, they can get
   18· ·through -- they can create a hole and get through,
   19· ·especially skinny guys.· They can -- they can
   20· ·really tunnel through some stuff and -- and create
   21· ·some serious havoc.
   22· · · · Q· · And so my question was -- if you know,
   23· ·you know; if you don't, you don't -- what's the
   24· ·fastest you have seen somebody tunnel through --
   25· ·kick through a wall?


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   ·1· · · · A· · I couldn't tell you how fast it took
   ·2· ·them, because I didn't know how -- I didn't -- I
   ·3· ·wasn't there to see them actually do it.· But I
   ·4· ·can say that they can move ratherly [sic] quick if
   ·5· ·needed in order to escape and flee.
   ·6· · · · Q· · Okay.· I wanted to ask you really
   ·7· ·briefly about the second individual in the unit.
   ·8· · · · · · ·Do you remember there being a second
   ·9· ·individual?
   10· · · · A· · Yes, I do.
   11· · · · Q· · And what happened with that individual?
   12· · · · A· · As far as?
   13· · · · Q· · Did you -- was it you who apprehended
   14· ·him, or somebody else?
   15· · · · A· · I grabbed him off the wall.
   16· · · · Q· · Okay.
   17· · · · A· · I apprehended him.
   18· · · · Q· · And as you sit here today, do you have
   19· ·any idea who he is?
   20· · · · A· · No.
   21· · · · Q· · Okay.· Russ, I don't think I have any
   22· ·other questions.
   23· · · · · · ·Russ, having -- now we've sat here for a
   24· ·couple of hours.· Are there any answers that you
   25· ·have given today that you wanted to go back or


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   ·1· ·change or modify?
   ·2· · · · A· · No.
   ·3· · · · Q· · I've allowed you time to answer all of
   ·4· ·my questions; correct?
   ·5· · · · A· · Correct.
   ·6· · · · · · · ·MS. MURPHY:· All right.
   ·7· · · · · · · ·MR. ANDERSON:· No questions.
   ·8· · · · · · · ·THE VIDEOGRAPHER:· Okay.· One moment.
   ·9· · · · · · · ·This concludes the video-recorded
   10· ·deposition of Russell Backman taken on
   11· ·October 3rd, 2024.· We are going off the video
   12· ·record, and the time is 3:30 p.m.
   13· · · · · · · ·THE COURT REPORTER:· Counsel, do you
   14· ·need a copy of the transcript?
   15· · · · · · · ·MR. ANDERSON:· Yes, please.
   16· · · · · · · · · ·(Whereupon, the deposition
   17· · · · · · · · · ·concluded at 3:30 p.m.)
   18· · · · · · · · · · · ·* * * * *
   19
   20
   21
   22
   23
   24
   25


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   ·1· · · · · · ·CERTIFICATE OF COURT REPORTER

   ·2
   · · ·STATE OF NEVADA· · ·)
   ·3· · · · · · · · · · · ·)· ss:
   · · ·COUNTY OF CLARK· · ·)
   ·4

   ·5· · · · I, Heidi K. Konsten, Certified Court Reporter

   ·6· ·licensed by the State of Nevada, do hereby certify

   ·7· ·that I reported the deposition of RUSSELL BACKMAN,

   ·8· ·commencing on October 3, 2024, at 1:10 p.m.

   ·9· · · · ·Prior to being deposed, the witness was duly

   10· ·sworn by me to testify to the truth.· I thereafter

   11· ·transcribed my said stenographic notes via

   12· ·computer-aided transcription into written form,

   13· ·and that the transcript is a complete, true and

   14· ·accurate transcription and that a request was not

   15· ·made for a review of the transcript.

   16· · · · I further certify that I am not a relative,

   17· ·employee or independent contractor of counsel or

   18· ·any party involved in the proceeding, nor a person

   19· ·financially interested in the proceeding, nor do I

   20· ·have any other relationship that may reasonably

   21· ·cause my impartiality to be questioned.

   22· · · · IN WITNESS WHEREOF, I have set my hand in my

   23· ·office in the County of Clark, State of Nevada,

   24· ·this October 21, 2024.

   25· · · · · · · · · __________________________
   · · · · · · · · · · Heidi K. Konsten, RPR, CCR No. 845



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   ·1· · · · · · · · DECLARATION OF DEPONENT
   ·2· · · · · · · · I, RUSSELL BACKMAN, deponent herein,
   ·3· ·do hereby declare under penalty of perjury that I
   ·4· ·have read the within and foregoing transcription of
   ·5· ·my testimony taken on October 3, 2024, at Las
   ·6· ·Vegas, Nevada, and that the same is a true record
   ·7· ·of the testimony given by me at the time and place
   ·8· ·hereinabove set forth, with the following
   ·9· ·exceptions:
   10
   11· · · · · · · · · · ·ERRATA SHEET
   12· ·PAGE· LINE· ·SHOULD READ:· · · · REASON FOR CHANGE:
   13· ·___________________________________________________
   14· ·___________________________________________________
   15· ·___________________________________________________
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